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                                                          U.S. DEPARTMENT OF JUSTICE

                                                          Matthew T. Kirsch
                                                          Acting United States Attorney
                                                          District of Colorado


Patricia Davies                                           1801 California Street, Suite 1600
Assistant United States Attorney                          Denver, CO 80202

   July 30, 2021


   Stephanie Snyder                                                           Attorney for Zebbodios Hall
   Assistant Federal Public Defender
   633 17th Street, Suite 1000
   Denver, CO 80202
   Ph: 303-294-7002
   Fax: 303-294-1192
   Email: Stephanie_Snyder@fd.org


   Re:      Initial Discovery Production
            United States v. Zebbodios Dejuan Hall, 21-cr-00227-WJM

   Dear Ms. Snyder,

   We are providing you with discovery in the above-referenced case, via USAfx. USAfx is a secure cloud-based
   file sharing platform that allows authorized users to exchange files online with the U.S. Attorney’s Office.

   The FPD’s discovery coordinator, Jonathan Coen, will receive an e-mail invitation from Amy McDaniel to
   collaborate in “20210730_Discovery Production_FPD” on Box, which will be the secure online folder containing
   the records in the attached index (identified by Bates numbers and general description) which are being provided
   to you, as referenced above. As additional discovery is processed, a copy will be provided to you.

   Production of PII
   Some of these discovery materials may contain personal identifying information of third parties, including dates
   of birth, Social Security numbers, addresses, telephone numbers, and financial account information. By accepting
   this discovery, you agree that neither you, the defendant, nor anyone else working on behalf of the defendant will
   share or publish any such discovery materials with anyone for any reason other than as necessary in the defense of
   your client. You also agree that you will provide your client with a copy of some or all of the discovery materials
   as necessary, but that you will instruct him not to make any additional copies of these materials. Finally, if you
   come to believe that such information needs to be disclosed or published in any other context or for any other
   purpose, you agree to contact me before making such a disclosure so that the government will have an opportunity
   to seek a protective order as appropriate. If you have any concerns with these parameters please let me know.

   Viewing Physical Evidence
   Upon request, you may view any evidence which has been seized in this case. Please place your request to view
   any evidence with Assistant United States Attorney Patricia Davies at (303) 454-0100 or
   patricia.davies@usdoj.gov. Bear in mind that drug evidence or certain other items of non-drug evidence may have
   been submitted to a laboratory for further analysis and may not be immediately available for inspection.




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Finally, if you have trouble accessing the discovery, if any portion of the discovery is unreadable, or if you
believe something has been improperly redacted which is necessary for your preparation, please inform us as soon
as possible.



                                                        Respectfully,



                                                        s/Patricia Davies________
                                                        Patricia Davies
                                                        Assistant United States Attorney



PD/am
ENCL. – Discovery Index




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BegDoc       EndDoc       File Name                                                                    Brief Description
INV_00000001 INV_00000001 gun drop off 8‐28 video 1.mp4                                                USAfx FBI Dahlstrom\gun drop off 8‐28 video 1.mp4
INV_00000002 INV_00000002 gun drop off 8‐28 video 2.mp4                                                USAfx FBI Dahlstrom\gun drop off 8‐28 video 2.mp4
INV_00000003 INV_00000003 Zebb2.mp4                                                                    USAfx FBI Dahlstrom\Zebb2.mp4
INV_00000004 INV_00000004 Zebb3.mp4                                                                    USAfx FBI Dahlstrom\Zebb3.mp4
INV_00000005 INV_00000005 Zebb4.mp4                                                                    USAfx FBI Dahlstrom\Zebb4.mp4
INV_00000006 INV_00000006 Zebb5.mp4                                                                    USAfx FBI Dahlstrom\Zebb5.mp4
INV_00000007 INV_00000007 Zebb6.mp4                                                                    USAfx FBI Dahlstrom\Zebb6.mp4
INV_00000008 INV_00000008 Zebb7.mp4                                                                    USAfx FBI Dahlstrom\Zebb7.mp4
INV_00000009 INV_00000009 Zebbadious1.mp4                                                              USAfx FBI Dahlstrom\Zebbadious1.mp4
INV_00000010 INV_00000010 CHS and Hall 8.19.2020.mp3                                                   US02 USAfx FBI Dahlstrom\CHS and Hall 8.19.2020.mp3
INV_00000011 INV_00000042 CHS NCIC 6.24.2021.pdf                                                       CHS NCIC 6.24.2021.pdf
INV_00000043 INV_00000046 Hall NCIC 6.24.2021.pdf                                                      Hall NCIC 6.24.2021.pdf
INV_00000047 INV_00000047 082720 Screen Shot 1.JPG                                                     Gun Purchase 8.27.2020\082720 Screen Shot 1.JPG
INV_00000048 INV_00000048 082720 Screen Shot 2.JPG                                                     Gun Purchase 8.27.2020\082720 Screen Shot 2.JPG
INV_00000049 INV_00000049 082720 Screen Shot 3.JPG                                                     Gun Purchase 8.27.2020\082720 Screen Shot 3.JPG
INV_00000050 INV_00000050 082720 Screen Shot 4.JPG                                                     Gun Purchase 8.27.2020\082720 Screen Shot 4.JPG
INV_00000051 INV_00000053 Bass Pro Surveillance.zip?266H‐DN‐3310305‐FISUR_0000002.pdf                  Gun Purchase 8.27.2020\Bass Pro Surveillance.zip
                          Bass Pro Surveillance.zip?266H‐DN‐3310305‐
INV_00000054 INV_00000054 FISUR_0000002_1A0000002_0000001.jpg                                          Gun Purchase 8.27.2020\Bass Pro Surveillance.zip
                          Bass Pro Surveillance.zip?266H‐DN‐3310305‐
INV_00000055 INV_00000055 FISUR_0000002_1A0000003_0000001.jpg                                          Gun Purchase 8.27.2020\Bass Pro Surveillance.zip
                          Bass Pro Surveillance.zip?266H‐DN‐3310305‐
INV_00000056 INV_00000056 FISUR_0000002_1A0000004_0000001.jpeg                                         Gun Purchase 8.27.2020\Bass Pro Surveillance.zip
INV_00000057 INV_00000058 Serial 18 ‐ Evidence Submission.zip?266H‐DN‐3310305_0000018.pdf              Gun Purchase 8.27.2020\Serial 18 ‐ Evidence Submission.zip
INV_00000059 INV_00000060 serial 3 ‐ Evidence Submission.zip?266H‐DN‐3310305_0000003.pdf               Gun Purchase 8.27.2020\serial 3 ‐ Evidence Submission.zip
INV_00000061 INV_00000086 Transcript 8.27.2020.pdf                                                     Gun Purchase 8.27.2020\Transcript 8.27.2020.pdf
INV_00000087 INV_00000087 266H‐DN‐3310305_0000005.pdf                                                  Gun Purchase 8.27.2020\CHS Report 8.27\266H‐DN‐3310305_0000005.pdf
INV_00000088 INV_00000088 266H‐DN‐3310305_0000005.pdf^S‐00100545‐A‐024.pdf                             Gun Purchase 8.27.2020\CHS Report 8.27\266H‐DN‐3310305_0000005.pdf
                                                                                                       Gun Purchase 8.27.2020\CHS Report 8.27\266H‐DN‐
INV_00000089 INV_00000089 266H‐DN‐3310305_0000005_1A0000003_0000001.pdf                                3310305_0000005_1A0000003_0000001.pdf
                                                                                                       Gun Purchase 8.27.2020\CHS Report 8.27\266H‐DN‐
INV_00000090 INV_00000091 266H‐DN‐3310305_0000005_1A0000003_0000002.pdf                                3310305_0000005_1A0000003_0000002.pdf
INV_00000092 INV_00000092 082820 Screen Shot 1.JPG                                                     Gun Transfer 8.28.2020\082820 Screen Shot 1.JPG
INV_00000093 INV_00000093 082820 Screen Shot 2.JPG                                                     Gun Transfer 8.28.2020\082820 Screen Shot 2.JPG
INV_00000094 INV_00000094 082820 Screen Shot 3.JPG                                                     Gun Transfer 8.28.2020\082820 Screen Shot 3.JPG
INV_00000095 INV_00000095 082820 Screen Shot 4.JPG                                                     Gun Transfer 8.28.2020\082820 Screen Shot 4.JPG
INV_00000096 INV_00000096 082820 Screen Shot 5.JPG                                                     Gun Transfer 8.28.2020\082820 Screen Shot 5.JPG
INV_00000097 INV_00000099 Gun Transfer Surveillance.zip?266H‐DN‐3310305‐FISUR_0000001.pdf              Gun Transfer 8.28.2020\Gun Transfer Surveillance.zip
INV_00000100 INV_00000101 serial 10 ‐ Evidence Submission.zip?266H‐DN‐3310305_0000010.pdf              Gun Transfer 8.28.2020\serial 10 ‐ Evidence Submission.zip
INV_00000102 INV_00000103 Serial 15 ‐ Evidence Submission.zip?266H‐DN‐3310305_0000015.pdf              Gun Transfer 8.28.2020\Serial 15 ‐ Evidence Submission.zip
INV_00000104 INV_00000104 Serial 16 ‐ Gun Transfer Report.zip?266H‐DN‐3310305_0000016.pdf              Gun Transfer 8.28.2020\Serial 16 ‐ Gun Transfer Report.zip
INV_00000105 INV_00000106 Serial 19 ‐ Evidence Submission.zip?266H‐DN‐3310305_0000019.pdf              Gun Transfer 8.28.2020\Serial 19 ‐ Evidence Submission.zip
INV_00000107 INV_00000115 Transcript 8.28.2020.pdf                                                     Gun Transfer 8.28.2020\Transcript 8.28.2020.pdf
INV_00000116 INV_00000116 266H‐DN‐3310305_0000002.pdf                                                  Serial 02\266H‐DN‐3310305_0000002.pdf




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BegDoc       EndDoc       File Name                                                                     Brief Description
INV_00000117 INV_00000117 266H‐DN‐3310305_0000002_1A0000001_0000001.pdf                                 Serial 02\266H‐DN‐3310305_0000002_1A0000001_0000001.pdf
INV_00000118 INV_00000119 266H‐DN‐3310305_0000002_1A0000001_0000002.pdf                                 Serial 02\266H‐DN‐3310305_0000002_1A0000001_0000002.pdf
INV_00000120 INV_00000120 266H‐DN‐3310305_0000006.pdf                                                   Serial 06 ‐ CHS Contact\266H‐DN‐3310305_0000006.pdf
INV_00000121 INV_00000121 266H‐DN‐3310305_0000006.pdf^S‐00100545‐A‐025.pdf                              Serial 06 ‐ CHS Contact\266H‐DN‐3310305_0000006.pdf
INV_00000122 INV_00000122 266H‐DN‐3310305_0000007.pdf                                                   Serial 07\266H‐DN‐3310305_0000007.pdf
INV_00000123 INV_00000123 266H‐DN‐3310305_0000007.pdf^S‐00100545‐A‐026.pdf                              Serial 07\266H‐DN‐3310305_0000007.pdf
INV_00000124 INV_00000124 266H‐DN‐3310305_0000008.pdf                                                   Serial 08 ‐ 8.19.2020 Meet\266H‐DN‐3310305_0000008.pdf
INV_00000125 INV_00000125 266H‐DN‐3310305_0000008.pdf^S‐00100545‐A‐017.pdf                              Serial 08 ‐ 8.19.2020 Meet\266H‐DN‐3310305_0000008.pdf
INV_00000126 INV_00000126 CHS and Hall 8.19.2020.mp3                                                    Serial 08 ‐ 8.19.2020 Meet\CHS and Hall 8.19.2020.mp3
INV_00000127 INV_00000148 Transcript 8.19.2020.pdf                                                      Serial 08 ‐ 8.19.2020 Meet\Transcript 8.19.2020.pdf

INV_00000149 INV_00000149 302 from Shelby file ‐ CHS meet for lunch.zip?266H‐DN‐3300349_0000015.pdf     Serial 09 ‐ 8.21.2020 Lunch\302 from Shelby file ‐ CHS meet for lunch.zip

INV_00000150 INV_00000150 302 from Shelby file ‐ Lunch Surveillance.zip?266H‐DN‐3300349_0000014.pdf     Serial 09 ‐ 8.21.2020 Lunch\302 from Shelby file ‐ Lunch Surveillance.zip

INV_00000151 INV_00000152 Evidence Submission ‐ From Shelby file.zip?266H‐DN‐3300349_0000017.pdf        Serial 09 ‐ 8.21.2020 Lunch\Evidence Submission ‐ From Shelby file.zip
INV_00000153 INV_00000219 Transcript 8.21.2020.pdf                                                      Serial 09 ‐ 8.21.2020 Lunch\Transcript 8.21.2020.pdf
                                                                                                        Serial 09 ‐ 8.21.2020 Lunch\Serial 9 ‐ CHS contact for 8.21 lunch\266H‐DN‐
INV_00000220 INV_00000220 266H‐DN‐3310305_0000009.pdf                                                   3310305_0000009.pdf
                                                                                                        Serial 09 ‐ 8.21.2020 Lunch\Serial 9 ‐ CHS contact for 8.21 lunch\266H‐DN‐
INV_00000221 INV_00000222 266H‐DN‐3310305_0000009.pdf^S‐00100545‐A‐015.pdf                              3310305_0000009.pdf
INV_00000223 INV_00000223 266H‐DN‐3310305_0000012.pdf                                                   Serial 12 ‐ CHS contact\266H‐DN‐3310305_0000012.pdf
INV_00000224 INV_00000224 266H‐DN‐3310305_0000012.pdf^S‐00100545‐A‐029.pdf                              Serial 12 ‐ CHS contact\266H‐DN‐3310305_0000012.pdf
INV_00000225 INV_00000225 266H‐DN‐3310305_0000013.pdf                                                   Serial 13 ‐ CHS Contact\266H‐DN‐3310305_0000013.pdf
INV_00000226 INV_00000226 266H‐DN‐3310305_0000013.pdf^S‐00100545‐A‐032.pdf                              Serial 13 ‐ CHS Contact\266H‐DN‐3310305_0000013.pdf
INV_00000227 INV_00000228 266H‐DN‐3310305_0000017.pdf                                                   Serial 17 ‐ Receipt of Form 4473\266H‐DN‐3310305_0000017.pdf
                                                                                                        Serial 17 ‐ Receipt of Form 4473\266H‐DN‐
INV_00000229 INV_00000231 266H‐DN‐3310305_0000017_1A0000005_0000001.pdf                                 3310305_0000017_1A0000005_0000001.pdf

INV_00000232 INV_00000232 266H‐DN‐3310305_0000020.pdf                                                   Serial 20 ‐ Request to remove firearm from Evidence\266H‐DN‐3310305_0000020.pdf

INV_00000233 INV_00000233 266H‐DN‐3310305_0000020.pdf^REReques.rtf                                      Serial 20 ‐ Request to remove firearm from Evidence\266H‐DN‐3310305_0000020.pdf
INV_00000234 INV_00000234 266H‐DN‐3310305_0000021.pdf                                                   Serial 21 ‐ CHS Report with AUSA\266H‐DN‐3310305_0000021.pdf
INV_00000235 INV_00000236 266H‐DN‐3310305_0000021.pdf^S‐00100545‐A‐052.pdf                              Serial 21 ‐ CHS Report with AUSA\266H‐DN‐3310305_0000021.pdf
INV_00000237 INV_00000237 266H‐DN‐3310305_0000022.pdf                                                   Serial 22 ‐ CHS Report\266H‐DN‐3310305_0000022.pdf
INV_00000238 INV_00000239 266H‐DN‐3310305_0000022.pdf^S‐00100545‐A‐055.pdf                              Serial 22 ‐ CHS Report\266H‐DN‐3310305_0000022.pdf
INV_00000240 INV_00000240 266H‐DN‐3310305_0000024.pdf                                                   Serial 24 ‐ CHS Report\266H‐DN‐3310305_0000024.pdf
INV_00000241 INV_00000241 266H‐DN‐3310305_0000024.pdf^S‐00100545‐A‐057.pdf                              Serial 24 ‐ CHS Report\266H‐DN‐3310305_0000024.pdf
INV_00000242 INV_00000246 266H‐DN‐3310305_0000030.pdf                                                   Serial 30 ‐ CHS Interview with AUSA\266H‐DN‐3310305_0000030.pdf
INV_00000247 INV_00000247 Serial 32 ‐ Zeb Hall ATF Trace.pdf                                            Serial 32_33_34 ‐ ATF\Serial 32 ‐ Zeb Hall ATF Trace.pdf

INV_00000248 INV_00000248 266H‐DN‐3310305_0000033.pdf                                              Serial 32_33_34 ‐ ATF\Serial 33 ‐ ATF Function Test\266H‐DN‐3310305_0000033.pdf
                          266H‐DN‐3310305_0000033.pdf^788015‐21‐0005 #2 Function Test of a Firearm
INV_00000249 INV_00000249 S&W SW1911.pdf                                                           Serial 32_33_34 ‐ ATF\Serial 33 ‐ ATF Function Test\266H‐DN‐3310305_0000033.pdf




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BegDoc        EndDoc        File Name                                                                 Brief Description
                                                                                                      Serial 32_33_34 ‐ ATF\Serial 33 ‐ ATF Function Test\266H‐DN‐
INV_00000250 INV_00000250 266H‐DN‐3310305_0000033_1A0000009_0000001.jpg                               3310305_0000033_1A0000009_0000001.jpg
                                                                                                      Serial 32_33_34 ‐ ATF\Serial 33 ‐ ATF Function Test\266H‐DN‐
INV_00000251 INV_00000251 266H‐DN‐3310305_0000033_1A0000009_0000002.jpg                               3310305_0000033_1A0000009_0000002.jpg
                                                                                                      Serial 32_33_34 ‐ ATF\Serial 33 ‐ ATF Function Test\266H‐DN‐
INV_00000252 INV_00000252 266H‐DN‐3310305_0000033_1A0000009_0000003.jpg                               3310305_0000033_1A0000009_0000003.jpg
                                                                                                      Serial 32_33_34 ‐ ATF\Serial 33 ‐ ATF Function Test\266H‐DN‐
INV_00000253 INV_00000253 266H‐DN‐3310305_0000033_1A0000009_0000004.jpg                               3310305_0000033_1A0000009_0000004.jpg
                                                                                                      Serial 32_33_34 ‐ ATF\Serial 33 ‐ ATF Function Test\266H‐DN‐
INV_00000254 INV_00000254 266H‐DN‐3310305_0000033_1A0000009_0000005.jpg                               3310305_0000033_1A0000009_0000005.jpg

INV_00000255 INV_00000255 266H‐DN‐3310305_0000034.pdf                                           Serial 32_33_34 ‐ ATF\Serial 34 ‐ Interstate Nexus\266H‐DN‐3310305_0000034.pdf
                          266H‐DN‐3310305_0000034.pdf^788015‐21‐0005 #1 Interstate Nexus of S&W
INV_00000256 INV_00000259 SW1911.pdf                                                            Serial 32_33_34 ‐ ATF\Serial 34 ‐ Interstate Nexus\266H‐DN‐3310305_0000034.pdf
                          _85576600c3f0b9366e22ebb6b8ee2e2712236cfd1_2020_08_21T11_46_32_ls68 _85576600c3f0b9366e22ebb6b8ee2e2712236cfd1_2020_08_21T11_46_32_ls682.mp
INV_00000260 INV_00000260 2.mp4                                                                 4
                          _85576600c3f0b9366e22ebb6b8ee2e2712236cfd1_2020_08_21T11_46_32_ls74 _85576600c3f0b9366e22ebb6b8ee2e2712236cfd1_2020_08_21T11_46_32_ls747.mp
INV_00000261 INV_00000261 7.mp4                                                                 4
INV_00000262 INV_00000262 CCR_0001.wav                                                          CCR_0001.wav
                                                                                                DN_NS1_NS1‐BR_2020_08_28T16_03_22\DN_NS1_NS1‐
INV_00000263 INV_00000263 DN_NS1_NS1‐BR_2020_08_28T16_03_22.mp4                                 BR_2020_08_28T16_03_22.mp4
                                                                                                DN_NS1_NS1‐BR_2020_08_28T16_12_58\DN_NS1_NS1‐
INV_00000264 INV_00000264 DN_NS1_NS1‐BR_2020_08_28T16_12_58.mp4                                 BR_2020_08_28T16_12_58.mp4
                                                                                                DN_NS1_NS1‐BR_2020_08_28T16_32_58\DN_NS1_NS1‐
INV_00000265 INV_00000265 DN_NS1_NS1‐BR_2020_08_28T16_32_58.mp4                                 BR_2020_08_28T16_32_58.mp4
                          _85576600c3f0b9366e22ebb6b8ee2e2712236cfd1_2020_08_28T16_12_58_ls28 _85576600c3f0b9366e22ebb6b8ee2e2712236cfd1_2020_08_28T16_12_58_ls282.mp
INV_00000266 INV_00000266 2.mp4                                                                 4
INV_00000267 INV_00000267 CCR_0001.wav                                                          CCR_0001.wav
INV_00000268 INV_00000268 CCR_0002.wav                                                          CCR_0002.wav
                                                                                                DN_NS1_NS1‐BR_2020_08_27T14_48_00\DN_NS1_NS1‐
INV_00000269 INV_00000269 DN_NS1_NS1‐BR_2020_08_27T14_48_00.mp4                                 BR_2020_08_27T14_48_00.mp4
                                                                                                DN_NS1_NS1‐BR_2020_08_27T15_08_00\DN_NS1_NS1‐
INV_00000270 INV_00000270 DN_NS1_NS1‐BR_2020_08_27T15_08_00.mp4                                 BR_2020_08_27T15_08_00.mp4
                                                                                                DN_NS1_NS1‐BR_2020_08_27T15_28_00\DN_NS1_NS1‐
INV_00000271 INV_00000271 DN_NS1_NS1‐BR_2020_08_27T15_28_00.mp4                                 BR_2020_08_27T15_28_00.mp4
                                                                                                DN_NS1_NS1‐BR_2020_08_27T15_48_00\DN_NS1_NS1‐
INV_00000272 INV_00000272 DN_NS1_NS1‐BR_2020_08_27T15_48_00.mp4                                 BR_2020_08_27T15_48_00.mp4
                                                                                                DN_NS1_NS1‐BR_2020_08_27T16_08_00\DN_NS1_NS1‐
INV_00000273 INV_00000273 DN_NS1_NS1‐BR_2020_08_27T16_08_00.mp4                                 BR_2020_08_27T16_08_00.mp4
INV_00000274 INV_00000278 FBI Report 08.26.2020.pdf                                             FBI Report 08.26.2020.pdf
INV_00000279 INV_00000279 10.16.2020 5k.pdf                                                     10.16.2020 5k.pdf
INV_00000280 INV_00000282 11.24.20 7k.pdf                                                       11.24.20 7k.pdf
INV_00000283 INV_00000283 7.21.20 $500.pdf                                                      7.21.20 $500.pdf
INV_00000284 INV_00000284 8.2.20 21.90.pdf                                                      8.2.20 21.90.pdf




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BegDoc       EndDoc       File Name                                                               Brief Description
INV_00000285 INV_00000285 8.21.20 $100.pdf                                                        8.21.20 $100.pdf
INV_00000286 INV_00000286 8.28.20 2k.pdf                                                          8.28.20 2k.pdf
INV_00000287 INV_00000287 8.4.20 4k.pdf                                                           8.4.20 4k.pdf
INV_00000288 INV_00000288 9.11.20 3k.pdf                                                          9.11.20 3k.pdf
INV_00000289 INV_00000289 266H‐DN‐3310305‐ELA_0000001.pdf                                         266H‐DN‐3310305‐ELA_0000001.pdf
INV_00000290 INV_00000292 266H‐DN‐3310305‐ELA_0000001_1A0000001_0000001.pdf                       266H‐DN‐3310305‐ELA_0000001_1A0000001_0000001.pdf
INV_00000293 INV_00000293 266H‐DN‐3310305‐ELA_0000002.pdf                                         266H‐DN‐3310305‐ELA_0000002.pdf
INV_00000294 INV_00000295 266H‐DN‐3310305‐ELA_0000002_1A0000002_0000001.pdf                       266H‐DN‐3310305‐ELA_0000002_1A0000002_0000001.pdf
INV_00000296 INV_00000297 266H‐DN‐3310305‐FISUR_0000004.pdf                                       266H‐DN‐3310305‐FISUR_0000004.pdf
INV_00000298 INV_00000299 266H‐DN‐3310305‐FISUR_0000005.pdf                                       266H‐DN‐3310305‐FISUR_0000005.pdf
INV_00000300 INV_00000300 266H‐DN‐3310305_0000035.pdf                                             266H‐DN‐3310305_0000035.pdf
INV_00000301 INV_00000301 S‐00100545‐A‐059.pdf                                                    US15‐>266H‐DN‐3310305_0000035.pdf‐>S‐00100545‐A‐059.pdf
INV_00000302 INV_00000302 266H‐DN‐3310305_0000036.pdf                                             266H‐DN‐3310305_0000036.pdf
INV_00000303 INV_00000303 266H‐DN‐3310305_0000036_1A0000010_0000001.pdf                           266H‐DN‐3310305_0000036_1A0000010_0000001.pdf
INV_00000304 INV_00000304 266H‐DN‐3310305_0000036_1A0000010_0000002.pdf                           266H‐DN‐3310305_0000036_1A0000010_0000002.pdf
INV_00000305 INV_00000306 266H‐DN‐3310305_0000036_1A0000010_0000003.pdf                           266H‐DN‐3310305_0000036_1A0000010_0000003.pdf
INV_00000307 INV_00000307 266H‐DN‐3310305_0000037.pdf                                             266H‐DN‐3310305_0000037.pdf
INV_00000308 INV_00000309 266H‐DN‐3310305_0000038.pdf                                             266H‐DN‐3310305_0000038.pdf
INV_00000310 INV_00000310 266H‐DN‐3310305_0000038_1A0000011_0000001.pdf                           266H‐DN‐3310305_0000038_1A0000011_0000001.pdf




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Jun 24, 2021 12:27:18 PM                                          Printed By: 82375 from: FBI

 Received        Time:                  12:26:43    06-24-21                          Source    ORI:                     CONCICO00
  Summary:                              QW: CAR=NS16 NAM="_,                            MICHAEL pop=1974q
  View     Message       Details


 06/24/2021         12:26    Message      received     from   NCIC

 ***     ATTN:    GAMACHE     ADAM


 1L010B2ZU ,MRI6945946
 COFBIDNOO
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 SEARCH, DETAIN, OR ARREST BASED SOLELY ON THIS RECORD.   CONTACT ENTERING
 AGENCY TO CONFIRM STATUS AND TERMS OF PROTECTION ORDER*****

 MKE/PROTECTION ORDER
 ORI/C0003015J NAM/SANDOVAL, RICARDO HERNANDEZ SEX/M RAC/W
 DOB/196       HGT/504 WGT/160 EYE/BRO HAI/BLK
 BRD/N ISD/20060508 EXP/20251227
 PPN/ WR £8 1¢ esx/M Ppr/U PPB
 PCO/01 - THE SUBJECT IS RESTRAINED FROM ASSAULTING, THREATENING, ABUSING,
 PCO/HARASSING, FOLLOWING, INTERFERING, OR STALKING THE PROTECTED PERSON AND/OR
 PCO/THE CHILD OF THE PROTECTED PERSON.
 OCA/D0032006CR001386-003
 VLD/20210225
 MIS/SHALL NOT POSSESS OR CONSUME ALCOHOLIC BEVERAGES OR CONTROLLED SUBSTANCES IT
 MIS/ IS FURTHER ORDERED NO NEW OFFENSES CONDITIONS OF THIS ORDER ARE CONDITION S
 MIS/ OFBOND NO CONTACT WITH CHILDREN UNDER 18 YEARS OF AGE
 DNA/N
 ORI IS      18TH    DISTRICT COURT LITTLETON 303 649-6355
 PPN/W                 BUFFI PSK/F PPR/U PPB/1978
 PPN/                  MICHAEL PSX/M PPR/U PPB/197
 PCO/04 - THE SUBJECT              IS   REQUIRED TO STAY AWAY FROM THE RESIDENCE,  PROPERTY,
 PCO/SCHOOL,  OR PLACE             OF   EMPLOYMENT OF THE PROTECTED PERSON OR OTHER FAMILY OR
 PCO/HOUSEHOLD MEMBER.
 PcO/05 - THE SUBJECT              IS RESTRAINED       FROM MAKING              ANY     COMMUNICATION WITH           THE
 PCO/PROTECTED PERSON              INCLUDING BUT       NOT LIMITED              TO,     PERSONAL,  WRITTEN,          OR
 PCO/TELEPHONE CONTACT, OR THEIR EMPLOYERS, EMPLOYEES OR FELLOW WORKERS, OR
 PCO/OTHERS WITH WHOM THE                 COMMUNICATION       WOULD        BE    LIKELY        TO   CAUSE    ANNOYANCE     OR
 PCO/ALARM THE VICTIM,
 PCO/07 - THE SUBJECT IS PROHIBITED FROM POSSESSING AND/OR PURCHASING A FIREARM
 PCO/OR OTHER WEAPONS AS IDENTIFIED IN THE MISCELLANEOUS FIELD.
 PCO/08 - SEE THE MISCELLANEOUS                    FIELD    FOR     COMMENTS          REGARDING        THE   TERMS   AND
 PCO/CONDITIONS OF THE ORDER.
 AKA/SANDOVAL, RICARDO
 nic/H           J         pte/20201130      1049 Est pLU/20210225                     0006 EST
 MRI 6945950         IN: NCIC      42428 AT    12:26       24JUN21
 OUT: FBI 52         AT 12:26      24JUN21




                                                                         Page 1 of 1




                                                                        Exhibit
                                                                        Exhibit 4
                                                                                4
                                                                                                                                     INV_00000011
       Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 8 of 43


Jun 24, 2021 12:29:52 PM                                               Printed By: 82375 from: FBI

  Received       Time:                   12:26:44         06-24-21                      Source       ORI:               corIsso000
  Summary:                              QW:         CAR=NS16    VAM=" ,
                                                                 T
                                                                 ¥                            MICHAEL       DoB=197 4
  View     Message         Details


 ***     ATTN:     GAMACHE     ADAM

   Your query:         QW NAM/WRJ                      MOCHAEL.pop/19749y

   QPOP CIC/109269040.                           WHR,      cure.                                            197
       UM                                    RTY/MPO ORI/CO0030157 SID/                                        100
       Soc/                                  OLN/
   QPOP CIC/109269059.                           WR,       stcunex apam                                     197
         UM                                  RTY/MPO     ORI/CO0030157            SID/                           100
         soc/                                OLN/
   QPOP CIC/120443144.                          wR                   witcuaci apam                          1974
         UM                                  RTY/NCO     ORI/CO0030300            SID/                           100
         soc/                                OLN/
   QPOP CIC/122143010.                          WHR,                 wcuae.                                 197
       WM                                RTY/MPO ORI/CO016025J                    SID/3410813                    100
       soc/                              OLN/
   QPOP CIC/135522846.                       WR,       tcuae.                                               197-7
       UM                                RTY/    ORI/                            SID/                           100
       soc/                              OLN/
 MRI     6945958      IN:    ISS     13598     AT     12:26    24JUN21
 OUT:     FBI    54   AT    12:26     24JUN21




                                                                              Page   1 of 1




                                                                             Exhibit
                                                                             Exhibit 4
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                                                                                                                                     INV_00000012
       Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 9 of 43


Jun 24, 2021 12:29:54 PM                                Printed By: 82375 from: FBI

  Received     Time:              12:29:21   06-24-21                  Source         ORI:   COHFS0000
  Summary:                        FREE:   QPOP   CIC/109269040.
  View    Message      Details
 ***   ATTN:     GAMACHE   ADAM


 CCIC REPLY
 COFBIDNOO
 *** CCIC PERSON UNDER PROTECTION ORDER ***
 MKE/CLEARED / EXPIRED PROTECTION ORDER
 RTY/XPR NAM/CLARK, LOGAN
 SEX/M RAC/W DOB/199
 HGT/600 WGT/157 EYE/GRN HAI/BLN
 soc/
 DOB/199
 PPN/            MICHAEL PSX/M PPR/U PpB/197 49
 BRD/U
 PCO/01-THE SUBJECT IS RESTRAINED FROM ASSAULTING, THREATENING, ABUSING,
      HARASSING, FOLLOWING, INTERFERING, OR STALKING THE PROTECTED PERSON
 PCO/08-SEE THE MISCELLANEOUS FIELD FOR COMMENTS REGARDING THE TERMS AND
      CONDITIONS OF THE ORDER
 MIS/REMARKS
 IsD/20160222 ExP/20160707 apR/
 CIS/LITTLETON,CO
 DTS/20160222
 CIC/109269040 OCA/D00320155D000857-006 DKT/D00320153D000857 PNO/006 NIC/H446762779
 DTE/20160222 TME/1426 TID/JBTC TOI/50000
 DLU/20160707 TLU/0930
 DISTRICT COURT 18TH JUDICIAL DISTRICT CENTENNIAL
 MRI 6947475 IN: HFS1 17019 AT 12:29 24JUN21
 OUT: FBI 56 AT 12:29 24JUN21




                                                               Page 1 of 1




                                                              Exhibit
                                                              Exhibit 4
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                                                                                                         INV_00000013
       Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 10 of 43


Jun 24, 2021 12:30:01 PM                                    Printed By: 82375 from: FBI

  Received      Time:               12:29:58   06-24-21                    Source         ORI:                 COHFS0000
  Summary:                          FREE:   QPOP       CIC/109269059.
  View    Message       Details
 ***    ATTN:    GAMACHE     ADAM


 CCIC REPLY
 COFBIDNOO
 *** CCIC PERSON UNDER PROTECTION ORDER ***
 MKE/CLEARED / EXPIRED PROTECTION ORDER
 RTY/XPR NAM/ROWE, AUSTIN            RAY           ,
 SEX/M RAC/W DoB/199 7
 HGT/504 WGT/117 EYE/BLU HAI/BRO
 soc
 PPN/                      MICHAEL §esx/m              per/v pes/197 Sy
 BRD/U
 PCO/Oi-THE SUBJECT IS RESTRAINED FROM ASSAULTING,   THREATENING, ABUSING,
     HARASSING,  FOLLOWING, INTERFERING, OR STALKING THE PROTECTED PERSON
 PCO/08-SEE THE MISCELLANEOUS FIELD FOR COMMENTS REGARDING THE TERMS AND
     CONDITIONS OF TRE ORDER

 MIS/REMARKS
 ISD/20160222 EXP/20160721 ADR/11544 WEST BERRY PL
 CIS/LITTLETON,CO
 PDR/3679 KNOX CT
 PCS/ENGLEWOOD , CO
 DTS/20160222
 CIC/109269059 OCA/D00320157D000856-005 DKT/D00320153JD000856                                    PNO/005   NIC/H576762708
 DTE/20160222 TME/1427 TID/JBTC TOI/50000
 DLU/20160721 TLU/1054
 DISTRICT COURT 18TH JUDICIAL DISTRICT CENTENNIAL
 MRI 6947878 IN: HFS1 17036 AT 12:29 24JUN21
 OUT:  FBI 57 AT 12:29 24JUN21




                                                                   Page 1 of 1




                                                                  Exhibit
                                                                  Exhibit 4
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    Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 11 of 43


Jun 24, 2021 12:30:09 PM                                     Printed By: 82375 from: FBI

  Received      Time:                12:30:07     06-24-21                  Source         ORI:   COHFSO000
  Summary:                           FREE:   QPOP       CIC/120443144.
  View    Message       Details
 ***   ATTN:     GAMACHE     ADAM


 CCIC REPLY
 COFBIDNOO
 **%* CCIC PERSON UNDER PROTECTION ORDER *#**
 MKE/CLEARED / EXPIRED PROTECTION ORDER
 RTY/XNC       NAM/LOPEZ,    LEONARDO
 SEX/M RAC/W DOB/199
 HGT/603       WGT/254     EYE/BRO    HAI/BLK
 PPN/ WR         wtcuac. 9} esx/m per/v pes/io7 a
 BRD/Y
 PCO/01-THE SUBJECT IS RESTRAINED FROM ASSAULTING, THREATENING, ABUSING,
      HARASSING, FOLLOWING, INTERFERING, OR STALKING THE PROTECTED PERSON
 MIS/DEF IS PROHIBITED FROM CONTACTING THREATENING MOLESTING OR INJURING
      THE VICTIM WHEREVER SHE/HE MAY BE FOUND INCLUDING BUT NOT LIMITED TO
      HOME WORK OR SCHOOL/THIS PROHIBITION INCLUDES CONTACT BY
      PHONE/MAIL/COMPUTER AND ELECTRONIC MEANS OR THROUGH ANY THIRD
      PARTY/DEF MUST VACATE SHARED RESIDENCE AND NOT RETURN THERE/SHALL BE
      PERMITTED TO RETURN TO SHARED RESIDENCE ONE TIME TO OBTAIN
      UNDISPUTED PERSONAL EFFECTS NECESSARY TO MAINTAIN NORMAL STANDARD OF
      LIVING IF ACCOMPANIED BY LAW ENFORCEMENT
 ISD/20180308 ExP/20190308
 CIC/120443144 OCA/2018399
 DTE/20180308 TME/2016 TID/ARU                TOIT/58358
 DLU/20190308  TLU/2201
 SHERIDAN POLICE DEPARTMENT
 MRI 6947999 IN: HFS1 17046 AT                  12:30     24JUN21
 OUT: FBI 58 AT 12:30 24JUN21




                                                                    Page
                                                                      1 of 1




                                                                    Exhibit
                                                                    Exhibit 4
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     Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 12 of 43


Jun 24, 2021 12:30:19 PM                                          Printed By: 82375 from: FBI

  Received        Time:                12:30:17        06-24-21                  Source         ORI:                 COHFSO000
  Summary:                             FREE:     QPOP    CIC/122143010.
  View     Message        Details
  **%*   ATTN:     GAMACHE     ADAM

 cCIC REPLY
 COFBIDNOO
 *** CCIC PERSON UNDER PROTECTION                       ORDER     ***
 MKE/CLEARED / EXPIRED PROTECTION                       ORDER
 RTY/XPR NAM/CALDWELL, JAMES
 SEX/M RAC/B DoB/1980,
 HGT/505         WGT/145     EYE/BRO HAI/BLK
 soc                       SID/3410813
 PPN/                      MICHAEL PSX/M PPR/W PPB/1974§
 PPN/ABRAMS-OTT,             WYATT    WADE     PSX/M    PPR/W     PPB/19960518
 PPN/MARTINEZ, ANGELO PSX/M PPR/W PPB/19960508
 PPN/ABRAMS-OTT, WYATT WADE PSX/M PPR/W
 PPN/MARTINEZ, ANGELO PSX/M PPR/W
 BRD/N
 PCO/01-THE SUBJECT IS RESTRAINED FROM ASSAULTING, THREATENING, ABUSING,
      HARASSING, FOLLOWING, INTERFERING, OR STALKING THE PROTECTED PERSON
 PCO/04-THE SUBJECT IS REQUIRED TO STAY AWAY FROM THE RESIDENCE, PROPERTY,
      SCHOOL OR PLACE OF EMPLOYMENT OF THE PROTECTED PERSON
 PCO/05-THE SUBJECT IS RESTRAINED FROM MAKING ANY COMMUNICATION WITH THE
      PROTECTED PERSON INCLUDING BUT NOT LIMITED TO, PERSONAL, WRITTEN, OR
      TELEPHONE CONTACT, OR THEIR EMPLOYERS, EMPLOYEES OR FELLOW WORKERS,
      OR OTHERS WITH WHOM THE COMMUNICATION WOULD BE LIKELY TO CAUSE
      ANNOYANCE OR ALARM THE VICTIM
 PCO/07-THE SUBJECT IS PROHIBITED FROM POSSESSING AND/OR PURCHASING A
      FIREARM OR OTHER WEAPON
 PCO/08-SEE THE MISCELLANEOUS FIELD FOR COMMENTS REGARDING THE TERMS AND
      CONDITIONS OF THE ORDER

 MIS/SHALL NOT POSSESS OR CONSUME ALCOHOLIC BEVERAGES OR CONTROLLED
      SUBSTANCES  IT IS FURTHER ORDERED YOU MUST STAY AT LEAST 100 YARDS
      AWAY FROM THE VICTIM AT ALL TIMES
 IsD/20170726 EXP/20180924 ADR
 CIS/DENVER,CO
 pDTS/20170726
 CIC/122143010            OCA/D0162017CRO05205-014              DKT/D0162017CRO05205                   PNO/014   NIC/H903618563
 DTE/20180626 TME/1127 TID/JBTC TOr/50000
 DLU/20180924 TLU/0603
 DISTRICT COURT 2ND JUDICIAL DISTRICT DENVER
 MRI 6948150 IN: HFS1 17053 AT 12:30 24JUN21
 OUT: FBI 59 AT 12:30 24JUN21




                                                                         Page 1 of 1




                                                                        Exhibit
                                                                        Exhibit 4
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       Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 13 of 43


Jun 24, 2021 12:30:34 PM                                               Printed By: 82375 from: FBI

  Received      Time:                      12:30:32         06-24-21                  Source         ORI:           COHFS0000
  Summary:                                FREE:      QPOP     CIC/135522846.
  View    Message          Details
 ***    ATTN:        GAMACHE      ADAM


 CCIC REPLY
 COFBIDNOO
 *** CCIC PERSON UNDER PROTECTION ORDER ***
 MKE/MANDATORY PROTECTION ORDER
 RTY¥/MPO NAM/SANDOVAL, RICARDO HERNANDEZ
 SEX/M RAC/W DOB/1964
 HGT/504 WGT/160 EYE/BRO HAI/BLK
 SID/1817127
 AKA/SANDOVAL, RICARDO
 PPN/             ERIC PSX/M PPR/U vee /
 PPN/             BUFFI PSX/F PPR/U PPB/1978
 PPN/                         MICHAEL PSX/M PPR/U              PPB/197. 5
 PPN/                         MICHAEL PSX/M PPR/U
 PPN/                         BUFFL PSX/F PPR/U
 BRD/N
 PCO/01-THE SUBJECT IS RESTRAINED FROM ASSAULTING,      THREATENING,    ABUSING,
      HARASSING, FOLLOWING,   INTERFERING, OR STALKING THE PROTECTED PERSON
 PCO/04-THE SUBJECT IS REQUIRED TO STAY AWAY FROM THE RESIDENCE,         PROPERTY,
      SCHOOL OR PLACE OF EMPLOYMENT OF THE PROTECTED PERSON
 PCO/05-THE SUBJECT IS RESTRAINED FROM MAKING ANY COMMUNICATION WITH THE
      PROTECTED PERSON INCLUDING BUT NOT LIMITED TO,     PERSONAL,   WRITTEN,    OR
      TELEPHONE CONTACT,  OR THEIR EMPLOYERS,   EMPLOYEES OR FELLOW WORKERS,
     OR OTHERS WITH WHOM THE COMMUNICATION WOULD BE LIKELY TO CAUSE
     ANNOYANCE OR ALARM THE VICTIM
 PcO/07-THE SUBJECT IS PROHIBITED FROM POSSESSING AND/OR PURCHASING A
      FIREARM OR OTHER WEAPON
 PCO/08-SEE THE MISCELLANEOUS    FIELD FOR COMMENTS REGARDING THE TERMS AND
     CONDITIONS OF THE ORDER

 MIS/SHALL NOT POSSESS OR CONSUME ALCOHOLIC BEVERAGES OR CONTROLLED
      SUBSTANCES IT IS FURTHER ORDERED NO NEW OFFENSES CONDITIONS OF                                        THIS
      ORDER ARE CONDITION S OFBOND NO CONTACT WITH CHILDREN UNDER 18                                        YEARS
      OF AGE
 IsD/20060508 EXP/20251227 ADR/AT LARGE
 CIS/AURORA,CO
 pTs/20060508
 CIC/135522844               OCA/D0032006CR001386-003              DKT/D0032006CR001386
 PNO/003       NIC/H
 DTE/20201130           TME/0849         TID/JBTC      TOI/50000
 DLU/20210224           TLU/2206         uUTO/50000
 VLN/50000       V~LD/20210224            VLT/2206
 ORI/CO0030157               DISTRICT     COURT      18TH     JUDICIAL      DISTRICT        CENTENNIAL
 MRI    6948249        IN:     HFS1     17057   AT    12:30     247UN21
 OUT:    FBI    60    AT      12:30   24JUN21




                                                                              Page 1 of 1




                                                                             Exhibit
                                                                             Exhibit 4
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         Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 14 of 43


Jun 24, 2021 12:36:59 PM                                                   Printed By: 82375 from: FBI

  Received             Time:                    12:36:54        06-24-21                  Source         ORI:        COTITOO00
  Summary:                                      FREE:    QOH    CIC/7577643.CAR/NS16.
  View      Message            Details
  **x*    ATTN:        GAMACHE     ADAM



 THIS RESPONSE IS BASED ON YOUR INQUIRY OF
     QH.COFBIDNOO.CO. *MRI6952134.82375 .FBI.CIC/7577643

 RREKEREREEEREKEEREREEKHEEEKK                           | TDENTIFICATION            #4 88 eK RE KEKE KKEERKAERRE
                                                                                                              EERE
 STATE ID#: 702740    FBI#: 150416WA8
 ** MULTI-STATE OFFENDER **
 DNA PROFILE IN CODIS(N)

 NAME(S)          USED:

                                         06/11/1996
                                         04/02/1997
                                         10/24/1997
                                         04/13/2000
                                         02/14/2002
                                         10/03/2003
                                         10/03/2003
                                         10/03/2003
                                         12/24/2003
                                         05/08/1995

 NICKNAME (S) :
                                                               MOHAMMAD
                                         04/13/2000            MUHAMMAD

 PHYSICAL:
                                         SEX:     M      RACE: W        HGT:  505           WGT:    137
                                         EYE:     HAZ       HAIR:    RED     SKN:        FAR

 DATE(S)          OF    BIRTH:
                                     MN /197:
                                     1975
 PLACE(S)          OF     BIRTH:
                                         co

 SCARS/MARKS:
                                         TAT R SHLD
                                         TAT L SHLD
                                         TAT CHEST
                                         TAT BACK
                                         TAT R ARM
                                         TAT ABDOM
                                         TAT L ARM
                                         TAT UR ARM
                                         TAT UL ARM
                                         SC L LEG
                                         PRCD LLIP

 SOCIAL      SECURITY            NUMBER(S)        :


 COMMENTS:             AFIS      LIVESCAN
 RAP/Y
 FIF/D

                                                                                  Page 1 of 3




                                                                                 Exhibit
                                                                                 Exhibit 4
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     Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 15 of 43


Jun 24, 2021 12:36:59 PM                   Printed By: 82375 from: FBI
                                ADDITIONAL
 ADDRESSES:                10/02/1994
                                        THORNTON        CO
                           05/08/1995
                                        THORTON        CO
                           07/21/1995
                                        THORTON        CO
                           08/16/1995
                                           THORNTON            CO
                           09/14/1995




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                           11/17/1995




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                           07/02/1996




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                           11/13/2000
                                           DENVER         CO
                           02/14/2001
                                           DENVER         CO
                           03/18/2001
                                           THORNTON            CO
                           09/24/2003
                                           AURORA         CO
                           12/26/2003
                                           DENVER      CO
                           10/02/2005
                                           AURORA      CO
                           05/19/2006
                                           AURORA      CO
                           05/19/2007
                                           AURORA      CO
                           12/05/2007
                                           AURORA      CO
                           10/24/2008
                                           WESTMINSTER              CO
                           08/14/2009
                                           DENVER      CO
                           11/09/2009
                                           AURORA      CO
                           05/03/2010
                                           AURORA      CO       80012
                           07/26/2010
                                           AURORA      CO       80012
                           05/19/2011
                                           AURORA      CO       80013
 OCCUPATIONS:              10/02/1994      FOREIGN     MILITARY
                           05/08/1995      LABORER
                           09/14/1995      COOK
                           07/02/1996      SECURITY        GUARD
                           03/13/1997      DISK    JOCKEY
                           09/25/1997      TRUCK    DRIVER
                           10/19/1998      DISC    JOCKEY
                           04/13/2000      SECURITY

                                                      Page 2 of 3




                                                     Exhibit
                                                     Exhibit 4
                                                             4
                                                                                 INV_00000019
     Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 16 of 43


Jun 24, 2021 12:36:59 PM                          Printed By: 82375 from: FBI
                               02/14/2001      UNEMPLOYED
                               03/18/2001      BAIL ENFORCEMENT
                               12/24/2003      MILITARY
                               10/02/2005      STUDENT
                               05/19/2007      PROPERTY MANAGER
                               12/05/2007      TATOO ARTIST
                               10/24/2008      TATOO ARTIST/DJI
                               11/09/2009      TATTOO ARTIST
                               07/26/2010      COSMETOLOGY         (HAIR,NAILS)




 END OF RECORD
 MRI 6952137 IN: CCHX      15532 AT   12:36   24JUN21
 OUT: FBI 70 AT 12:36      24JUN21




                                                        Page 3 of 3




                                                        Exhibit
                                                        Exhibit 4
                                                                4
                                                                                  INV_00000020
        Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 17 of 43


Jun 24, 2021   12:32:55 PM                                                 Printed By: 82375 from: FBI

  Received       Time:                           12:32:12       06-24-21                  Source         ORI:           CONCICO00
  Summary:                                     QH:     CAR=NS16      NAM=Wi,                    MICHAEL         SEX=M
  View     Message       Details


  06/24/2021        12:32              Message       received     from     NCIC

  ***    ATTN:    NS16       -—-       DAHLSTROM


 7L010BZU ,MRI69491390
 COFBIDNOO
 THIS NCIC INTERSTATE IDENTIFICATION INDEX RESPONSE IS THE RESULT OF YOUR
 INQUIRY ON NAM/W{         tcuacr nop/1974§} sex/m Rac/U PuR/C ATN/DAHLSTROM
 NAME                             FBI NO.        INQUIRY DATE
 Vi          icw#r.              Li              2021/06/24

 SEX RACE BIRTH DATE                       HEIGHT WEIGHT EYES HAIR PHOTO
 M   Ww   1974/49                          505    137    HAZ RED Y¥
 BIRTH     PLACE
 COLORADO


 FINGERPRINT         CLASS                     PATTERN       CLASS
 co 62 12 CO         08
 19 65 14 24         08



 ALIAS NAMES
 MICKEY , NM
 MUHAMMAD , MICHAEL
 MUHAMMAD , v
              “MICHAEL
                  MICHAEL
                  MICHAEL
                  MICHAEL
                   MICKEY
                                       (ly
                 , MUHAMMAD

 OTHER       SCARS-MARKS-
 BIRTH DATES TATTOOS                                 SOCIAL SECURITY
 1975/§              ssc 1 Lec
                     TAT ABDOM
                     TAT L ARM
                     TAT R ARM
                     TAT UL ARM
                     TAT BACK
                     TAT L SHLD
                     TAT R SHLD
                     PRCD LLIP
 IDENTIFICATION              DATA         UPDATED       2011/12/06

 THE CRIMINAL         HISTORY              RECORD       IS   MAINTAINED       AND    AVAILABLE       FROM        THE
 FOLLOWING:
  NEVADA                           -   STATE     ID/NV01466003
  COLORADO                         -   STATE     ID/cO702740
  CALIFORNIA                       -   STATE     ID/CA12482396
  FLORIDA                              STATE     ID/FL05194455

 THE RECORD(S) CAN BE OBTAINED THROUGH THE INTERSTATE                                            IDENTIFICATION
 INDEX BY USING THE APPROPRIATE NCIC TRANSACTION.



                                                                                  Page 1 of 2




                                                                                  Exhibit
                                                                                  Exhibit 4
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    Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 18 of 43


Jun 24, 2021 12:32:55 PM                         Printed By: 82375 from: FBI
  END
  MRI 6949200 IN: NCIC     42901 AT   12:32   24JUN21
  OUT: FBI 63 AT 12:32     24JUN21




                                                        Page 2 of 2




                                                        Exhibit
                                                        Exhibit 4
                                                                4
                                                                                INV_00000022
      Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 19 of 43


Jun 24, 2021 12:34:19 PM                                                                  Printed By: 82375 from: FBI

  Received             Time:                            12:34:00             06-24-21                    Source         ORI:                      COITIOQ000
  Summary:                                              OR:     rpi-                         PUR=C
   View         Message           Details
  *#*k*    ATTN:           NS16        -    DAHLSTROM



                   COLORADO BUREAU OF INVESTIGATION -                                            IDENTIFICATION                UNIT
          690    KIPLING STREET,  SUITE #3000, DENVER,                                           COLORADO 80215                 (303)   239-4208

 THIS IDENTIFICATION                             RECORD IS FOR LAWFUL USE ONLY AND SUMMARIZES
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 INVESTIGATION CAN NOT GUARANTEE                                             THIS   RECORD RELATES TO THE                      PERSON    IN   WHOM   YOU
 HAVE AN INTEREST.

 IF THE          DISPOSITION IS NOT SHOWN OR FURTHER EXPLANATION                                                   OF     AN ARREST
 CHARGE          OR DISPOSITION IS DESIRED, THAT INFORMATION MAY                                                   BE     OBTAINED FROM           THE
 AGENCY          WHO FURNISHED THE ARREST INFORMATION.

 ONLY THE COURT OF JURISDICTION OR THE RESPECTIVE DISTRICT ATTORNEY'S OFFICE
 WHEREIN THE FINAL DISPOSITION OCCURRED CAN PROVIDE AN OFFICIAL COPY TO
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 AT ANY GIVEN TIME, A NEW INQUIRY SHOULD BE REQUESTED WHEN NEEDED                                                                       FOR
 SUBSEQUENT USE.

 KREKKERERKEHEREREHEKHEAEAEEEEEREK                                 = « TDENTIFICATION                +4 ORR KKK          KE KRENEK
 STATE ID#: 702740    FBI#:
 ** MULTI-STATE OFFENDER **
 DNA PROFILE IN CODIS(N)

 NAME(S)          USED:
                                                                       Ww                     MICHAEL
                                                 06/11/1996            WwW                    MICKEY
                                                 04/02/1997 Ww                             , MICHAEL Si           HF
                                                 10/24/1997 Wi,                               MICHAEL
                                                 04/13/2000 MUHAMMAD, MICHAEL
                                                 02/14/2002 WR,         micnae.
                                                 10/03/2003 MOHAMMAND ,
                                                 10/03/2003            MUHAMMAD,
                                                 10/03/2003                                           MICHAEL
                                                                                              MIKE
                                                 05/08/1995 Ww                               MICHAEL i
 NICKNAME
        (S) :
                                                                       MOHAMMAD
                                                 04/13/2000            MUHAMMAD

 PHYSICAL:
                                                 SEX:     M         RACE:       W     HGT:       505      WGT:     137
                                                 EYE;     HAZ          HAIR:        RED        SKN:     FAR

 DATE(S)          OF       BIRTH:
                                                          /1974
                                                          /1975

 PLACE(S)             OF     BIRTH:
                                                                                                Page 1 of 12




                                                                                                Exhibit
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 SCARS/MARKS:
                                TAT R SHLD
                                TAT L SHLD
                                TAT CHEST
                                TAT BACK
                                TAT R ARM
                                TAT ABDOM
                                TAT L ARM
                                TAT UR ARM
                                TAT UL ARM
                                SC L LEG
                                PRCD LLIP

 SOCIAL     SECURITY       NUMBER(S) :



 COMMENTS:      AFIS       LIVESCAN
 HRKKKKEREKEEEKERKEKEKKAREK                «CRIMINAL    HISTORY          ## #8842 RK KEE EKEEAKEEREK
                                                                                                   EERE
                                                Cycle    1    of    36
 ------ ARREST ------
 DATE ARRESTED                        10/02/1994
 AGENCY                               Co0010000 ADAMS           COUNTY       SHERIFF'S     OFFICE
 ARREST NUMBER                        9409544
 NAME USED
 CHARGE
                                      WE
                                      o1
                                                       rconce
    CHARGE LITERAL                    FAIL   TO APPEAR          3RD DEG SEX ASSAULT
    OFFENSE DATE                      08/05/1994
    DOCKET                            C0011994F 001294
 CHARGE                               02
    CHARGE LITERAL                    FAIL TO APPEAR            SEX ASSAULT         ON A CHILD
    TYPE/LEVEL                        FELONY
    OFFENSE DATE                      08/05/1994
                                      c0011994F     001294

 CHARGE                               o1
   CHARGE LITERAL                     FAIL TO APPEAR    3RD DEG SEX ASSAULT
   OFFENSE DATE                       08/05/1994
   DOCKET                             CO011994F 001294
   COURT DISPOSITION                  GUILTY
   DISPOSITION DATE                   07/05/1995
   SENTENCE                           730 DAYS JAIL, 1 YR PROBATION
 CHARGE                               02
   CHARGE LITERAL                     FAIL TO APPEAR    SEX ASSAULT ON A CHILD
   TYPE/LEVEL                         FELONY
   OFFENSE DATE                       08/05/1994
   DOCKET                             C0011994F 001294
   COURT DISPOSITION                  DISMISSED BY DA
   DISPOSITION DATE                   07/05/1995
                                              Cycle 2 of 36
 ------ ARREST         ------
 DATE ARRESTED                        05/08/1995
 AGENCY                               co0210000    EL    PASO       COUNTY     SHERIFF     OFFICE
 ARREST NUMBER                        9506437
 MNU#                                 OA-587014
 NAME USED
 CHARGE
                                      w
                                      01
                                                       cconce
    CHARGE LITERAL                    TRESPASSING        2ND       DEG
    TYPE/LEVEL                        MISDEMEANOR
    OFFENSE DATE                      05/08/1995
                                                Cycle    3    of    36


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  DATE ARRESTED                07/21/1995
  AGENCY                       C00010000 ADAMS           COUNTY      SHERIFF'S        OFFICE
  ARREST NUMBER                9507516
  NAME USED
  CHARGE
                               VS
                               01
                                                ccuc,
     CHARGE LITERAL            PROBATION    VIOLATION
     OFFENSE DATE              08/05/1994
     DOCKET                    C0011994F    001294


 CHARGE                        Ol
   CHARGE LITERAL              PROBATION VIOLATION
   OFFENSE DATE                08/05/1994
   DOCKET                      c0011994F 001294
   COURT DISPOSITION           GUILTY
   DISPOSITION DATE            07/21/1995
   SENTENCE                    30 DAYS JATL
                                       Cycle 4 of 36
 ------ ARREST ------
 DATE   ARRESTED               08/16/1995
 AGENCY                        ©00030100 ENGLEWOOD POLICE
 ARREST NUMBER                 95-45388
 MNU#                          OA-9518826
 NAME USED                     WE            wocuct
 CHARGE                        o1
    CHARGE LITERAL             SEX ASSAULT 2ND DEG
    TYPE /LEVEL                FELONY
    OFFENSE DATE               08/16/1995
                               D0031996CR002539
 CHARGE                        o1
   CHARGE LITERAL              SEX ASSAULT    2ND DEG              SEX    AS'LT:    PENETRATION
   TYPE/LEVEL                  FELONY
   OFFENSE DATE                08/16/1995
   DOCKET                      DO031996CR002539
   JUDICIAL CHARGE COUNT       1
   COURT DISPOSITION           NOT GUILTY
 CHARGE                        02
   CHARGE LITERAL              SEX ASSAULT    2ND DEG              SEX    AS'LT:    PENETRATION
   TYPE/LEVEL                  FELONY
   OFFENSE DATE                08/16/1995
   DOCKET                      DO0031996CR002539
   JUDICIAL CHARGE COUNT       2
   COURT DISPOSITION           NOT GUILTY
                                       Cycle 5 of 36
 a       ARRES.       SS=——
 DATE ARRESTED                 09/14/1995
 AGENCY                        CODPD0000 DENVER             POLICE       DEPARTMENT     -   IDENTIFICATION
 SECTION
 ARREST NUMBER                 918981
 MNU#                          OA-~497419
 NAME USED
 CHARGE                        o1
    CHARGE LITERAL             DANGEROUS    DRUGS           POSS
                                        Cycle     6    of    36
 <<se— ARREST         ------
 DATE ARRESTED                 11/17/1995
 AGENCY                        CODPD0000    DENVER          POLICE       DEPARTMENT     -   IDENTIFICATION
 SECTION
 ARREST NUMBER                 929024


                               EEE occonc,
 MNU#                          OA-497419
 NAME USED
 CHARGE                        01
    CHARGE LITERAL             WEAPON   OFFENSE         FLOURISHING

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                                             Cycle    7      of 36
  ------ ARREST ------
 DATE ARRESTED                    07/02/1996
 AGENCY                           CO0030000 ARAPAHOE                COUNTY       SHERIFF'S       OFFICE
 ARREST NUMBER                    9607626
 NAME USED                        WEE.               wicrac. P|
 CHARGE                           01
   CHARGE LITERAL                 SEX ASSAULT         2ND DEG
   TYPE/LEVEL                     FELONY
    OFFENSE      DATE             07/02/1996
    DOCKET                        D0031996CR002539
                                          Cycle 8 of               36
  ------    ARREST      -~----
 DATE ARRESTED                    09/30/1996
 AGENCY                           co0210000 EL        PASO         COUNTY       SHERIFF   OFFICE
 ARREST NUMBER                    9614351
 MNU#                             OA-587014
 NAME USED
 CHARGE
                                  EE
                                  Ol
                                                     curt,
                                  TRESPASSING   2ND DEG
                                  02
                                  FAIL TO APPEAR
                                          Cycle 9 of 36

 PCN                              014C0000786680
 DATE ARRESTED                    10/19/1996
 AGENCY                           CO0010100 AURORA                POLICE     DEPARTMENT
 ARREST NUMBER                    96-9859
 AGENCY CASE NUMBER               96-52403
 MNU#                             CD#72705
 NAME USED
 CHARGE
                                  WEE
                                  o1
                                                 cco,
    CHARGE LITERAL                ARRESTED FOR OTHER                JURISDICTION          FOJ     SO ADAMS-3RD
                                  DEGREE SEX ASSAULT
                                             Cycle    10     of     36
 ------ ARREST ~-----
 DATE ARRESTED                    03/13/1997
 AGENCY                           CODPD0000 DENVER             POLICE       DEPARTMENT       -    IDENTIFICATION
 SECTION
 ARREST NUMBER                    1009349
 MNU#                             OA-497419
 NAME USED                        WEE,           vicuac.
 CHARGE                           01
    CHARGE LITERAL                OBSTRUCT     POLICE          INTERFERENCE/DOM            VIOL
 CHARGE                           02
   CHARGE LITERAL                 RESISTING ARREST                DOM    VIOL
   TYPE/LEVEL                     MISDEMEANOR
                                             Cycle    11     of     36
 ------ ARREST          --~----
 DATE ARRESTED                    04/02/1997
 AGENCY                           C00380100 STERLING                POLICE      DEPARTMENT
 ARREST NUMBER                    7129
 MNU#                             OA-10396
 NAME    USED                     WHR,           wtccwac FY
 CHARGE                           Ol
   CHARGE LITERAL                 THEFT
   OFFENSE DATE                   02/14/1997
 CHARGE                           02
   CHARGE LITERAL                 DAMAGE PROPERTY
   OFFENSE DATE                   02/14/1997
                                         Cycle        12     of     36
 ------ ARREST          ------
 DATE ARRESTED                    09/25/1997
                                                                   Page
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  AGENCY                   CO0010000 ADAMS COUNTY SHERIFF'S OFFICE
  ARREST NUMBER            9710035
  MNU#                     OA-143141
  NAME USED                WH,         Mcceact go
  CHARGE                   01
     CHARGE LITERAL        THEFT RENTAL PROPERTY
                                      Cycle     13    of    36
 ~----- ARREST ------
 DATE ARRESTED             10/24/1997
 AGENCY                    C00380100         STERLING       POLICE       DEPARTMENT
 ARREST NUMBER             97M93
 MNU#                      OA-10396
 NAME USED
 CHARGE
                           WEE
                           o1
                                             cours g
    CHARGE LITERAL         THEFT
                                      Cycle     14    of    36

                           11/14/1997
                           CO0010000       ADAMS      COUNTY          SHERIFF'S     OFFICE
                           9711934
                           OA-143141

                           01
                           PROBATION     VIOLATION               REVOCATION
                                      Cycle     15    of    36
 wa aaH- ARREST ------
 DATE ARRESTED             10/19/1998
 AGENCY                    CO0380000       LOGAN      CO                 RIFF'S     OFFICE
 ARREST NUMBER             97M93
 NAME USED
 CHARGE                    O1
    CHARGE LITERAL         DAMAGE     PROPERTY         MISCHIEF
    OFFENSE DATE           10/19/1998
 CHARGE                    02
    CHARGE LITERAL         THEFT      LESS     THAN    $100
    TYPE/LEVEL             MISDEMEANOR
    OFFENSE DATE           10/19/1998
                                      Cycle     16    of    36
 ------ ARREST ------
 DATE ARRESTED             04/13/2000
 AGENCY                    Co0010000 ADAMS            COUNTY          SHERIFF'S     OFFICE
 ARREST NUMBER             20003688
 MNU#                      OA-0143141
 NAME USED
 CHARGE
                           WE
                           01
                                             rcunce
    CHARGE LITERAL         ASSAULT      3RD     DEG        ELDERLY
    TYPE/LEVEL             FELONY
 CHARGE                    02
    CHARGE LITERAL         CONTEMPT OF COURT                FTPFEC       THEFT     RENTAL    PROP
    TYPE /LEVEL            MISDEMEANOR
                                   Cycle 17 of              36
 ------ ARREST ------
 DATE ARRESTED             11/13/2000
 AGENCY                    Co0010000     ADAMS        COUNTY          SHERIFF'S     OFFICE
 ARREST NUMBER             00-15113
 MNU#
                           WEEE cconce
                           OA-0143141
 NAME USED
 CHARGE                    01
    CHARGE LITERAL         SEX   ASSAULT        FATLURE          TO   REG   ACSO
    TYPE/LEVEL             MISDEMEANOR
 CHARGE                    02
    CHARGE LITERAL         ASSAULT      MENACING
    FACTUAL BASIS          DOMESTIC     VIOLENCE

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     TYPE/LEVEL             FELONY
     OFFENSE DATE           11/13/2000
     DOCKET                 DO012000CRO002507

 CHARGE                     O1
   CHARGE LITERAL           ASSAULT   MENACING-REAL/SIMULATED WEAPON
   FACTUAL BASIS            DOMESTIC VIOLENCE
    TYPE/LEVEL              FELONY
   OFFENSE DATE             11/13/2000
   DOCKET                   D0012000CR002507
   JUDICIAL CHARGE COUNT    L
   COURT DISPOSITION        DISMISSED BY DA
   DISPOSITION DATE         02/14/2001
 CHARGE                     02
   CHARGE LITERAL           ASSAULT   MENACING-CONSPIRACY TO COMMIT
   FACTUAL BASIS            DOMESTIC VIOLENCE
    TYPE/LEVEL              FELONY
    OFFENSE DATE            11/13/2000
    DOCKET                  D0012000CR002507
    JUDICIAL CHARGE COUNT   3
    COURT     DISPOSITION   DISMISSED    BY   DA
    DISPOSITION DATE        06/26/2001
                                      Cycle   18   of   36
 “aon == ARREST ------
 DATE ARRESTED              02/14/2001
 AGENCY                     CO0010000 ADAMS COUNTY SHERIFF'S OFFICE
 ARREST NUMBER              01-2005
 MNU#                       OA-0143141
 NAME USED                  WH          iceacr
 CHARGE                     01
    CHARGE LITERAL          CONTEMPT OF COURT VIOLATION RESTRAINING ORDER
    TYPE/LEVEL              MISDEMEANOR
                                      Cycle   19   of   36
 ------ ARREST ------
 DATE ARRESTED              03/18/2001
 AGENCY                     CODPD0000 DENVER POLICE DEPARTMENT - IDENTIFICATION
 SECTION
 ARREST NUMBER              1247748
 NAME USED                  WH             wicesct go
 CHARGE                     01
    CHARGE LITERAL          ASSAULT     MENACING        (DEADLY WEAPON)
    TYPE/LEVEL              FELONY
   OFFENSE DATE             03/18/2001
   DOCKET                   D0162001cR001499
 ------ COURT ------
 CHARGE                     o1
    CHARGE LITERAL          ASSAULT MENACING REAL/SIMULATED WEAPON
    TYPE/LEVEL              FELONY
    OFFENSE DATE            03/18/2001
    DOCKET                  D0162001CR001499
    JUDICIAL CHARGE COUNT   1
    COURT DISPOSITION       GUILTY
    DISPOSITION DATE        12/03/2001
    SENTENCE                2.00 Y DEPARTMENT OF CORRECTIONS 321           -00   D   CREDIT
                            FOR TIME SERVED
 CHARGE                     02
   CHARGE      LITERAL      WEAPON OFFENSE    POSSESSION BY PREVIOUS      OFFENDER
    TYPE/LEVEL              FELONY
    OFFENSE     DATE        03/18/2001
    DOCKET                  DO0162001CR001499
    JUDICIAL CHARGE COUNT   2
    COURT DISPOSITION       GUILTY
    DISPOSITION DATE        12/03/2001
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     SENTENCE                      2.00     Y DEPARTMENT OF CORRECTIONS                         -00   D   CREDIT     FOR
                                   TIME     SERVED
                                              Cycle     20     of    36
 ------ CUSTODY ------
 DATE RECEIVED                     02/14/2002
 AGENCY                            CO016055C DOC             - DENVER      RECEPTION        & DIAGNOSTIC
                                   CENTER  (DRDC)
 ARREST      NUMBER                112140
 NAME USED                          WHR,        wtcuac.
 CHARGE                             o1
    CHARGE LITERAL                  ASSAULT   MENACING-
    TYPE/LEVEL                      FELONY
   DOCKET                           D0162001CR001499
 CHARGE                             02
   CHARGE LITERAL                   WEAPON OFFENSE    POSSESSION BY PREVIOUS OFFENDER
   TYPE/LEVEL                       FELONY
   OFFENSE DATE                     03/18/2001
   DOCKET                           D0162001CR001499
 ------ CUSTODY EVENT          ------
   DATE                             02/14/2002
   AGENCY                            DOC - DENVER RECEPTION s DIAGNOSTIC CENTER (DRDC)
   STATUS                           RECEIVED

                                              Cycle     21    of    36
 ------ ARREST        ------
 DATE ARRESTED                    09/24/2003
 AGENCY                           CO001035G DOC - NORTHEAST                        PAROLE   REGION    - WESTMINSTER
 ARREST NUMBER                    112140
 MNU#                             OA-0143141
 NAME USED                        WHR.       ccuact
 CHARGE                           01
    CHARGE     LITERAL             PAROLE     VIOLATION
                                              Cycle 22 of           36
 ------ CUSTODY ------
 DATE RECEIVED                    10/03/2003
 AGENCY                           CO016055C DOC          - DENVER          RECEPTION        & DIAGNOSTIC
                                  CENTER  (DRDC)
 ARREST NUMBER         112140
 NAME USED             WH.         tcuac.
 CHARGE                01
    CHARGE LITERAL     PAROLE VIOLATION PAROLE VIOLATOR
   DOCKET              DO162001CR001499
 <a CUSTODY EVENT ------
   DATE                10/03/2003
   AGENCY               DOC - DENVER RECEPTION & DIAGNOSTIC CENTER                                          (DRDC)
    STATUS             RECEIVED
                                              Cycle     23    of    36
“oo-=- ARREST ------
DATE ARRESTED                     12/24/2003
AGENCY                            €00300400 LAKEWOOD POLICE DEPARTMENT
ARREST NUMBER                     034134
NAME USED                         WH,        Michacr gg
CHARGE                            O1
    CHARGE     LITERAL            PAROLE      VIOLATION
                                              Cycle 24 of           36
 ------ ARREST ------
DATE ARRESTED                     12/26/2003
AGENCY                            C0001035G       boc    -    NORTHEAST        PAROLE       REGION    -   WESTMINSTER
ARREST     NUMBER                 03-112140
MNU#                              OA-0143141
NAME
 CHARGE
        USED                      WE
                                  01
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                                                                    Page 7 of 12




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     CHARGE LITERAL                  PAROLE   VIOLATION      PAROLE VIO NE PAROLE
  CHARGE                             02
     CHARGE LITERAL                 SEX   OFFENDER-FAIL TO REGISTER                  FAIL       TO   REGISTER   SEX
                                    OFF   PAROLE
                                             Cycle 25 of 36
 ------ CUSTODY ------
 DATE RECEIVED                      01/21/2004
 AGENCY                             C0016055C DOC       - DENVER        RECEPTION        & DIAGNOSTIC
                                    CENTER (DRDC)
 ARREST NUMBER                      112140
 NAME USED                          WHR,             wtcuaer
 CHARGE                             01
    CHARGE LITERAL                  PAROLE    VIOLATION          ‘TECH PAROLE      VIOLATION
    DOCKET                          DO0162001CR001499
 <——--— CUSTODY EVENT          ——   ee

    DATE                            01/21/2004
    AGENCY                           DOC - DENVER RECEPTION               & DIAGNOSTIC           CENTER   (DRDC)
    STATUS                          RECEIVED
                                              Cycle    26   of    36
 ------ ARREST ------
 DATE ARRESTED                      10/02/2005
 AGENCY                             C00010100 AURORA POLICE DEPARTMENT
 ARREST NUMBER                      05-10424
 MNU#                               OA-CD72705
 NAME USED                          WHE,       wccuac:
 CHARGE                             01
    CHARGE    LITERAL               SEX OFFENDER REGISTRATION
    DOCKET                          CO011994F 001294
                                            Cycle 27 of 36
 ------ ARREST        ------
 DATE ARRESTED                      05/19/2006
 AGENCY                             C00010100 AURORA         POLICE      DEPARTMENT
 ARREST NUMBER                      06-5698
 MNU#                               OA-CD72705
 NAME USED
 CHARGE
                                    occur
                                    01
    CHARGE LITERAL                  SEX OFFENDER REGISTRATION
   DOCKET                           C0011994F001294
                                            Cycle 28 of 36
 ------ ARREST --~---
 DATE ARRESTED                      05/19/2007
 AGENCY                             CO0010100     AURORA     POLICE      DEPARTMENT
 ARREST NUMBER                      07-5936
 MNU#                               OA-CD72705
 NAME USED
 CHARGE
                                    ccc,
                                    O1
                                                                  a
    CHARGE LITERAL                  SEX   OFFENDER     REGISTRATION
   DOCKET                           C0011994F 001294
                                            Cycle 29 of           36

 PCN                                016910027882
 DATE ARRESTED                      12/05/2007
 AGENCY                             CODPD0000 DENVER         POLICE      DEPARTMENT         -    IDENTIFICATION
 SECTION
 ARREST NUMBER                      1568653
 NAME USED
 CHARGE
                                    WE
                                    O1
                                                   ccuace
    CHARGE LITERAL                  ASSAULT      MENACING        W/DEADLY       WEAPON
    TYPE/LEVEL                      FELONY
    OFFENSE DATE                    12/05/2007
 ae     2 COURT ------
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                                                                 Page 8 of 12




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     CHARGE LITERAL           ASSAULT      FELONY MENACING-REAL/SIMULATED                WE
     TYPE/LEVEL               FELONY
     OFFENSE DATE             11/30/2007
     DOCKET                   D0162007CRO07089
     JUDICIAL CHARGE COUNT    1
     COURT DISPOSITION        DISMISSED BY DA
     DISPOSITION DATE         04/18/2008
  CHARGE                      02
     CHARGE LITERAL           POSSESSION OF WEAPON    WEAPON-POSSESS PREV OFF-DANG WEAP
     TYPE/LEVEL               FELONY
     OFFENSE DATE             11/30/2007
     DOCKET                   DO162007CRO07089
     JUDICIAL CHARGE COUNT    2
     COURT DISPOSITION        DISMISSED BY DA
     DISPOSITION DATE         04/18/2008
  CHARGE                      03
     CHARGE LITERAL           ASSAULT    FELONY MENACING-REAL/SIMULATED WE
     TYPE/LEVEL               FELONY
     OFFENSE DATE             11/30/2007
     DOCKET                   D0162007CRO07089
     JUDICIAL CHARGE COUNT    3
     COURT DISPOSITION        DISMISSED BY DA
     DISPOSITION DATE         04/18/2008
  CHARGE                      04
     CHARGE LITERAL           ASSAULT   ASSAULT 3-KNOW/RECKLESS CAUSE INJ
     TYPE/LEVEL               MISDEMEANOR
     OFFENSE DATE             11/30/2007
     DOCKET                   D0162007CRO07089
     JUDICIAL CHARGE COUNT    4
     COURT DISPOSITION        GUILTY
     DISPOSITION DATE         04/18/2008
   SENTENCE                   12:00 M ELECTRONIC SURVEILLANCE 184:       00 D CREDIT
                              FOR TIME     SERVED
                                        Cycle    30   of   36
——— ARREST           ------
PCN                           030910026495
DATE ARRESTED                 10/24/2008
AGENCY                        C00300400 LAKEWOOD           POLICE     DEPARTMENT
ARREST NUMBER                 0817816
MNU#                          P00140029
 NAME    USED                 WHR            tcuact        a
- CHARGE                      o1
   CHARGE       LITERAL       ARRESTED     FOR   OTHER     JURISDICTION         SO   ARAPAHOE/FAIL
                              REGISTER     SEX   OFF
   TYPE/LEVEL                 MISDEMEANOR
   OFFENSE DATE               10/24/2008
   DOCKET                     C0702008M 201471
                                      Cycle 31 of          36
------ ARREST        ------
DATE ARRESTED                 08/14/2009
AGENCY                        CO0010000     ADAMS     COUNTY     SHERIFF'S      OFFICE
ARREST NUMBER                 143141
 NAME USED                    wR,            icunc.
 CHARGE                       O1
   CHARGE       LITERAL       SEX   OFFENDER     REGISTRATION
                                       Cycle     32 of 36

 PCN                          010020005361
DATE     ARRESTED             11/09/2009
AGENCY                        C0O0010100 AURORA        POLICE      DEPARTMENT
ARREST NUMBER                 72705
MNU#                          OA-CD72705
NAME USED                     WEEE occu                    a
                                                           Page 9 of 12




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  CHARGE                       o1
     CHARGE LITERAL            SEX OFFENDER REGISTRATION
     DOCKET                    CO011994F 001294
                                        Cycle 33 of 36
 PCN                           016930057160
 DATE ARRESTED                 01/01/2010
 AGENCY                        CODPD0000 DENVER             POLICE       DEPARTMENT    -    IDENTIFICATION
 SECTION
 ARREST NUMBER                 10-015488
 NAME USED
 CHARGE
                               cence
                               01
    CHARGE LITERAL             OBSTRUCT POLICE    INTERFERENCE
 CHARGE                        02
    CHARGE LITERAL             DISTURBING THE PEACE
 CHARGE                        03
    CHARGE LITERAL             ASSAULT
                               04
                               HEALTH SAFETY   IRRITANTS
                                       Cycle 34 of 36

                               010020006763
                               05/03/2010
                               CO0010100 AURORA          POLICE          DEPARTMENT
                               72705A
                               OA-CD72705

 CHARGE
                               ccc,
                               01
                               SEX OFFENDER REGISTRATION
    DOCKET                     CO011994F 001294
                                       Cycle 35 of 36

 PCN                           003920034168
 DATE ARRESTED                 07/26/2010
 AGENCY                        CO0030000 ARAPAHOE             COUNTY       SHERIFF'S       OFFICE
 ARREST NUMBER                 10010065
 NAME USED
 CHARGE
                               EE
                               01
                                              cues
    CHARGE LITERAL             SEX OFFENDER-FAIL            TO     REGISTER
    TYPE/LEVEL                 MISDEMEANOR
    OFFENSE DATE               07/26/2010
                               CO702008M 201471

 CHARGE                        OL
   CHARGE LITERAL              PUBLIC   ORDER   CRIMES             SEX    OFFENDER     (MISD)-FAIL   TO
 REGISTER
   TYPE/LEVEL                  MISDEMEANOR
   OFFENSE DATE                05/19/2008
   DOCKET                      CO702008M 201471
   JUDICIAL CHARGE COUNT       i
   COURT DISPOSITION           GUILTY
   DISPOSITION DATE            07/26/2010
    SENTENCE                   12 00 M JAIL     1 00 D cRTS
                                        Cycle   36     of     36
 ------    ARREST     ------
 PCN                           010020009792
 DATE    ARRESTED              05/19/2011
 AGENCY                        C00010100 AURORA          POLICE          DEPARTMENT
 ARREST    NUMBER              11-5439
 MNU#                          OA-CD72705
 NAME USED                     WHR          sccuart
 CHARGE                        o1
    CHARGE    LITERAL          SEX   OFFENDER   REGISTRATION

                                                             Page
                                                               10 of 12




                                                             Exhibit
                                                             Exhibit 4
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     Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 29 of 43


Jun 24, 2021 12:34:19 PM                        Printed By: 82375 from: FB!
     OFFENSE DATE          10/29/1997


 ADDRESSES:

                           05/08/1995
                                         THORTON               CO
                           07/21/1995
                                         THORTON                CO
                           08/16/1995


                                        coal
                                         THORNTON                    CO
                           09/14/1995                      a
                           11/17/1995
                                         UNK          CO
                           07/02/1996
                                         THORNTON                    CO
                           10/19/1996

                           04/02/1997

                           10/24/1997
                                         THORNTON                    CO
                           11/14/1997
                                         THORNTON                    CO
                           04/13/2000
                                         THORNTON                    CO
                           11/13/2000
                                                   us]
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                           02/14/2001
                                                            °o
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                                                   a




                           03/18/2001
                                         THORNTON                    CO
                           09/24/2003
                                        a ee i




                           12/26/2003
                                        HE

                                        EEL




                           10/02/2005

                           05/19/2006
                                        4hekh




                           05/19/2007

                           12/05/2007

                           10/24/2008

                           08/14/2009

                           11/09/2009
                                           i> n>
                                           ElCHEOE
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                           05/03/2010
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                           05/19/2011
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                                        2




 OCCUPATIONS       :       10/02/1994    FOREIGN             MILITARY
                           05/08/1995
                           09/14/1995
                           07/02/1996    SECURITY               GUARD
                           03/13/1997    DISK         JOCKEY
                           09/25/1997    TRUCK           DRIVER

                                                           Page 11 of 12




                                                         Exhibit
                                                         Exhibit 4
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                                                                                      INV_00000033
        Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 30 of 43


Jun 24, 2021 12:34:19 PM                                      Printed By: 82375 from: FBI
                                        10/19/1998       DISC     JOCKEY
                                        04/13/2000        SECURITY
                                        02/14/2001       UNEMPLOYED
                                        03/18/2001       BAIL ENFORCEMENT
                                        12/24/2003       MILITARY
                                        10/02/2005        STUDENT
                                        05/19/2007        PROPERTY        MANAGER
                                        12/05/2007        TATOO ARTIST
                                        10/24/2008        TATOO ARTIST/DJ
                                        11/09/2009        TATTOO ARTIST
                                        07/26/2010        COSMETOLOGY (HAIR,NAILS)

 kkk     THE ABOVE INFORMATION IS PROVIDED STRICTLY FOR AND IS LIMITED                                                 kak
 KKK     TO THE OFFICIAL USE OF CRIMINAL JUSTICE AGENCIES.                                                             w*Kk
 KkK*    FALSIFYING OR ALTERING THIS RECORD WITH THE INTENT TO MISREPRESENT THE                                        KK
 kkk     CONTENTS OF THE RECORD IS PROHIBITED BY LAW, AND MAY BE PUNISHABLE AS                                         kkk
 Kk      A FELONY WHEN DONE WITH THE INTENT TO INJURE OR DEFRAUD ANY PERSON.                                           KkkK


 Kk      THIS   RECORD     MAY   NOT   SHOW   ALL   ARRESTS     FOR     THIS    INDIVIDUAL;                            kak

 kK      HOWEVER,    ALL    INFORMATION       PROVIDED     TO   THE     CBI    IS     INCLUDED   IN   THIS   RECORD.   kkk

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 END  OF RECORD
 MRI  6950383 IN: CCHX            15466 AT     12:33   24JUN21
 OUT:  FBI 66 AT 12:34            24JUN21




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                                                                      Exhibit 4
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       Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 31 of 43


Jun 24, 2021    12:34:26 PM                                                 Printed By: 82375 from: FBI

  Received          Time:                   12:33:59          06-24-21                       Source       ORI:                               FLO370100
  Summary:                                 oR:     FBI<Q                       eor=-c
  View     Message          Details


  06/24/2021          12:33       Message        received       from        NLET



 CR.FLO370100
  11:34 06/24/2021                78927
  11:34 06/24/2021                35046    COFBIDNOO
  *MRI6950365
 TAT
 PUR/C.ATN/ DAHLSTROM.                SID/FL05194455
 HDR/2L010B2U,              MRI6950365
 ATN/DAHLSTROM
  KEKEKAKKEREAEKEKKEEKER                    CRIMINAL           HISTORY        RECORD        9 *##XKKKKERKEEEREAEREREE

  EEE     REREEEEE          ERE       KEKE               Introduction               TK       RARE        EERE     ENE   NRE   EKER   KE KH



 This     rap       sheet     was   produced        in    response           to    the     following       request:


 FBI Number                                 Ls
 State Id Number                            FLO5194455               (FL)
 Purpose Code                               Cc
 Attention                                  DAHLSTROM

 The     information           in   this    rap     sheet       is     subject        to    the   following            caveats:

 This     record       contains         Florida      information              only.        When   explanation            of    a
 charge or disposition is needed,  communicate                                        directly       with        the    agency
 that contributed the record information.

 This record           may only be used for the purpose requested as                                        defined           by
 the Code of           Federal Regulations and/or Florida Statute.

 This     is    a   muliti-source          offender           record.



 to                   i       ddecieiekikk           IDENTIFICATION                        kok              ito                    eke

 Subject        Name(s)


 WE                   sccuace
 Subject        Description

 FBI    Number                              State        Id    Number
                                            FLO5i94455            (FL)

 Social        Security        Number




 Sex                                        Race
 Male                                       White

 Height                                     Weight                                         Date     of   Birth
 5'08"                                      128                                             1974
 Hair Color                                 Eye Color
 Blonde Or Strawberry                       Blue

                                                                                    Page 1 of 3




                                                                                   Exhibit
                                                                                   Exhibit 4
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     Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 32 of 43


Jun 24, 2021 12:34:26 PM                                                     Printed By: 82375 from: FB!

 Place    of     Birth
 Colorado
 Residence
 Residence           as    of

                                            FT    LAUDERDA,             FL     USA

 Fingerprint              Images

 DNA    Data
  {No   DNA     Detail          Transmitted        )


 Tog                            dioiniobibbek:     CRIMINAT             HISTORY         (too
                                                                                           oot i i lek

                                                                Cycle    1
 Tracking        Number                     4602002041
 Earliest        Event          Date        1999-12-20             Incident          Date                  1999-12-20

 Arrest       Date                         1999-12-20
 Arresting Agency                          FLO460100 Crestview Police                          Department                  Crestview
 Charge                                    001
           Charge Literal                  Lare
      Charge Description                   PETIT FIRST OFFENSE
                  Statute                  Petit Theft 2nd Degree lst                          Offense         (       )
       NCIC Offense Code                   2399
       NCIC Offense Text                   Larc
      State Offense Code                   812.014.3a
                   Counts                  1
                 Severity                  Misdemeanor 2nd Degree
        Enhancing Factor                   Accessory after the fact.
                                           Principal in first degree.
 Charging       Agency                     FLO460100 Crestview Police                          Department                  Crestview
                                                       a   a ee

 Court  Disposition            (Cycle 1)
 Court Case Number           461999MM003870XXXACX
 Final Disposition Date      1999-12-21
 Court Agency                FLO046073J Okaloosa County Clerk of Court
 Charge                      1
 Charge Tracking Number      PE
           Charge Literal    Shoplifting
      Charge Description     RETAIL THEFT
                  Statute    Petit Theft From Merchant 2nd Off   ( )
       NCIC Offense Code     2303
       NCIC Offense Text     Shoplifting
      State Offense Code     812.015.2
                    Counts   1
                 Severity    Misdemeanor 2nd Degree
              Disposition    Adjudication Withheld( 1999-12-21;   Same)
      Court Comment    Arrest Charge Status - Charge Resulted From
                             Arrest
                                           me               ee                    ee     ee   ea    ee

 Sentencing                                 (Cycle         1)
 Sentencing           Agency
 Charge                                     0
               Charge           Literal     Shoplifting
        Charge        Description          RETAIL THEFT
                                Statute    Petit Theft From                    Merchant       2nd   off    (       )
         NCIC     Offense           Code   2303
         NCIC     Offense           Text   Shoplifting
        State     Offense           Code   812.015.2
                                 Counts    1
                                                                                     Page
                                                                                       2 of 3




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    Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 33 of 43


Jun 24, 2021 12:34:26 PM                                    Printed By: 82375 from: FBI
                       Severity     Misdemeanor      2nd     Degree
                Disposition         ( 1999-12-21;       )
 SENTENCE TYPE-N/A        -   Not   ApplicableOYOMODTOHOMOS                to   OYOM1ODTOHOMOS
 Court Cost                         0.00
 Fine Amount                        125.00
 Sentence                           CONFINEMENT- - 10 days
 Sentence                           CREDITED TIME-1 days
 Sentence                           COURT COST-0.0
 Sentence                           FINE-125.0
 Sentence                           RESTITUTION-0.0
 Sentence                           SENT   PROVISIONS-N/A            - Not Applicable          null
 kek
   Rh ebikkkik                         INDEX   OF AGENCIES             ttbidbkd       Ree

 Agency                             Crestview Police Department;   FL0460100;
 Address                                    201 Stillwell Boulevard
                                    Crestview,    FL 32539
                                    County:    46



 Agency                             Okaloosa   County        Clerk    of    Court;        FLO46073J;



      * * * END OF RECORD * * *
 MRI 6950376 IN: NLETS 24538 AT              12:33    24JUN21
 OUT: FBI 65 AT 12:33 24JUN21




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       Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 34 of 43


Jun 24, 2021 12:34:33 PM                                                    Printed By: 82375 from: FBI

  Received        Time:                    12:34:01           06-24-21                       Source       ORI:                  NVIIIOOOO
   Summary :                               oR:     FBI-<Q                      eor-c
   View    Message         Details

  06/24/2021           12:33    Message          received       from        NLET


  CR.NVIIIOO00
  11:34     06/24/2021          12685
  11:34     06/24/2021          35047      COFBIDNOO
  *MRI6950365
 TXT
 HDR/2L010B2ZU,MRI6950365
 ATN/ DAHLSTROM
  KEKE                EEEEREKEKEEEE         CRIMINAL           HISTORY        RECORD         EKER            EKREKEKEEEKEEEE



 Data     As     Of                         1993-08-30

  HERR IRR IR            EIR        RR EEERIRE           INtroduction                ttt          R RRR R RHR EERIE EERE RE K

  This     rap    sheet     was     produced        in    response           to     the    following       request:

  FBI    Number
 State Id Number                            NV01466003               ()
 Request Id                                 SQCH
  Purpose        Code                       Cc
 Attention                                  DAHLSTROM


  The     information          in   this    rap     sheet       is        subject     to    the     following    caveats:

 WHEN AN EXPLANATION OF A CHARGE OR DISPOSITION IS NEEDED, COMMUNICATE
 DIRECTLY WITH THE AGENCY THAT FURNISHED THE DATA TO THE NEVADA CRIMINAL
 HISTORY RECORDS REPOSITORY.

 IF FINGERPRINTS DID NOT ACCOMPANY THIS INQUIRY,  THE NEVADA CRIMINAL
 HISTORY RECORDS REPOSITORY IS UNABLE TO GUARANTEE THAT THIS MATERIAL
 CONCERNS THE INDIVIDUAL IN WHOM YOU ARE INTERESTED.

 IN REGARDS TO THE BELOW NAMED SUBJECT, THIS DOES NOT PRECLUDE THE
 POSSIBLE EXISTENCE OF ADDITIONAL MATCHED RECORDS IN LOCAL OR FBI
 IDENTIFICATION DIVISION FILES WHICH ARE NOT INDEXED BY THE NEVADA STATE
 CRIMINAL HISTORY RECORDS REPOSITORY.   THE USE OF THIS INFORMATION IS
 REGULATED BY LAW.  IT IS PROVIDED FOR OFFICIAL USE AND MAY ONLY BE USED
 FOR THE PURPOSE REQUESTED.  NEVADA AGENCIES - REFER TO NRS CHAPTER 179A.


  HEKEKERKEEEE
        RR RA EERE                                  « TDENTIFICATION                  4 #4 RK RKREHE AKER KEEEEEER
                                                                                                                 ERE


 Subject         Name(s)


 WH,                    rcuacr
 Ww                       MICHAEL                    (AKA)
 WwW                   MICHAEL                   (AKA)
 Ww                    MICHAEL                   (AKA)

 Subject         Description

 FBI     Number                             State        Id   Number
Fs                                          NV01466003
 Social        Security        Number

                                                                                     Page
                                                                                        1 of 3




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Jun 24, 2021 12:34:33 PM                                                           Printed By: 82375 from: FBI



 Sex                                      Race
 Male                                     White


 Height                                   Weight                                                  Date       of       Birth
 5'08"                                       120                                                  1974-4
 Hair       Color                         Eye        Color                                        Fingerprint                Pattern
 Blonde       Or     Strawberry           Blue                                                    co    62       12    Co    08        19   65   14   24   08

 Scars,       Marks,        and    Tattoos
 Code                                     Description,                     Comments,             and    Images
 TAT    R    SHLD                            ,   DRAGON/DOUBLE                      TRIANGLE



 Place       of    Birth                  Citizenship
 XX

 Fingerprint           Images

 Photo Images
 (No Photo Image              Transmitted                )


 FOI                   Goro            idee:         CRIMINAL              HISTORY            (IOI IH

                                                                 Cycle         1
 Tracking          Number                 06353796
 Earliest          Event Date             1993-08-20                   Incident           Date                          2018-04-08
                                                 a   a       a   ae   ee   a        a    ee   ee                      ee    ee    Oe    te ae   ee

 Arrest       Date                        1993-08-20
 Arrest       Case    Number              AR12186
 Arresting          Agency                NVO100000 LYON                           CO   SO/COMMUNICATIONS                    YERINGTON
 Charge                                   a
      Charge Description                  ASSAULT WITH A                           DEADLY WEAPON
                  Statute                 NEVADA STATUTE                            NRS   200.471            (    )
       NCIC Offense Code                  1399
      State Offense Code                  00143
                 Severity                 FELONY
 Charging Agency                          NVO0100000 LYON CO SO/COMMUNICATIONS YERINGTON
                                                    Cycle 2
 Tracking          Number                 17534597
 Earliest          Event    Date          2000-03-28 Incident Date            2018-04-08

 Arrest       Date          2000-03-28
 Arrest       Case    Number01437901
 Arresting Agency           NVO020100 LAS VEGAS METROPOLITAN POLICE LAS
                            VEGAS
 Charge                     1
      Charge Description    CONVICTED PERSON FAIL TO REGISTER
                  Statute   CLARK    COUNTY  12.24.030   ( )
       NCIC Offense Code    7399
      State Offense Code    04005
                 Severity  MISDEMEANOR
 Charging Agency            NV0020100 LAS VEGAS METROPOLITAN POLICE LAS
                           VEGAS
 KKKKKARHEKEEAEAEEAEREREEEK     INDEX OF AGENCIES    2 RRR RE EKHEREKER
                                                                   KERR EER ARE

 Agency                                   LAS        VEGAS METROPOLITAN POLICE; NV0020100;
 Address                                                 400 E STEWART AVE LAS VEGAS NV 89101-0000
                                          LAS        VEGAS, NV 89101-0000


                                                                                          Page 2 of 3




                                                                                         Exhibit
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    Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 36 of 43


Jun 24, 2021 12:34:33 PM                         Printed By: 82375 from: FBI

 Agency                    LYON   CO SO/COMMUNICATIONS; NV0100000;
 Address                           30 NEVIN WAY YERINGTON NV 89447
                           YERINGTON, NV 89447



      * * * END OF RECORD * * *
 MRI 6950391 IN: NLETS 24539 AT        12:33   24JUN21
 OUT: FBI 67 AT 12:34 24JUN21




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    Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 37 of 43


Jun 24, 2021 12:34:41 PM                                                 Printed By: 82375 from: FBI

  Received        Time:                    12:34:02           06-24-21                    Source       ORI:                        CAITIO000
  Summary:                                 OR:     FBI=_J                   por-c
  View     Message        Details

  06/24/2021           12:34    Message          received       from     NLET


 CR.CAIIIOO00
 11:34 06/24/2021                 62856
 11:34     06/24/2021           35048      COFBIDNOO
 *MRI6950365
 TXT
 HDR/2L010B2U,            MRI6950365
 ATN/ DAHLSTROM
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 FO          oped                                        Introduct:ion                gto                              bbtekioek

 This     rap     sheet     was     produced        in    response        to    the    following        request:

 State     Id    Number                     12482396           ()
 Purpose        Code                        Cc
 Attention                                  DAHLSTROM


 The     information           in   this    rap     sheet       is   subject      to     the    following         caveats:

 RESTRICTED - DO NOT USE FOR EMPLOYMENT,                                  LICENSING,           PLACEMENT        OR
 CERTIFICATION PURPOSES(CA; 2021-06-24)


 KEKE             EE   EEEKEEEEEKRKEEEEKEEK          IDENTIFICATION               HERE     KEE        EE KERR                 EK



 Subject        Name(s)


 WE                    corr
 Subject        Description

 FBI     Number                             State        Id   Number
rT                                          12482396
 Social     Security           Number




 Sex                                        Race
 Male                                       White

 Height                                     Weight                                      Date     of   Birth
 5107"                                      120                                         1974-
 Hair Color                                 Eye Color
 Blonde or Strawberry                       Blue



 Place of        Birth                                                                  Ethnicity
 UNKNOWN                                                                                White American




 KeRKKKAKEKKE EKER                  KAKAKKKK      = ©«CRIMINAL       HISTORY          **# tk tke K AKA         ER ER Ek


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                                                                                   1 of 2




                                                                                Exhibit
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    Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 38 of 43


dun 24, 2021 12:34:41 PM                                                    Printed By: 82375 from: FBI
                                                   Cycle                1
 Earliest       Event      Date           1999-02-13

 Arrest Date                              1999-02-13
 Arrest Case Number                       383256     1389850
 Arresting Agency                         CA0150000 CASOBARKERSFIELD
 Arresting Agency                         CAQ150200 CAPDBAKERSFIELD
 Subject's Name                                              MICHAEL
 Comment (s)                              ARREST/DETAINED/CITED
 Charge                                   1
                  Statute                 BURGLARY:SECOND                    DEGREE      (460(B)      PC    }
      State Offense Code                  42125
                 Severity                 Felony
 Charge                                   2
                  Statute                 BRANDISHING             FIREARM          REPLICA         (417.4       Pc   )
      State Offense Code                  52240
                 Severity                 Misdemeanor

 Court    Disposition                     (Cycle       1)
 Court    Case Number                     569165
 Final    Disposition         Date        1999-02-17
 Court Agency                             CA0150233 CAMCBAKERSFIELD
 Subject's Name
 Charge
                                          WE
                                          1
                                                                 ccuacr
                       Statute            SEE COMMENT             FOR        CHARGE      (   )
        State    Offense Code             66085
                      Severity            Misdemeanor
                  Disposition             (CONVICTED-PROB/
                                                       JAIL)
 Charge                                   2
                       Statute            BRANDISHING
                                               FIREARM REPLICA  (417.4                                          PC   )
        State    Offense Code             52240
                      Severity    Misdemeanor
                  Disposition     ({CONVICTED—PROBATION)
        Court    Comment    (1999-02-17)   CONDITION OF PROB-FIREARM
                                  RESTRICTION
        Court    Comment    CNT 01 CHRG-460(B)    PC
        Court    Comment          COURT       ACTION


 Sentencing                               (Cycle 1)
 Sentence                                 IMP SEN SS;             036 MONTHS PROBATION;                     030 DAYS JAIL
 Sentencing                               (Cycle       1)
 Sentence                                 IMP    SEN     SS;      036       MONTHS      PROBATION

 KEKE    EEKEEEEKKEKEKR
                     KEKE                 NON    CRIMINAL          INFORMATION                   # #24 kRRRRKEERERER
                                                                                                                  EKER

 ko         i    oo     didek icici              TNDEX      OF    AGENCIES            * 0k AAG                      kik   i ete


                                          CASOBAKERSFIELD;                    CA0150000;



                                          CAPDBAKERSFIELD;                    CA0150200;

                                                                                                      ee    oe ee

                                          CAMCBAKERSFIELD;                    CA015023J;



      * * * END OF RECORD * * *
 MRT 6950393 IN: NLETS 24540 AT                        12:34       24JUN21
 OUT:  FBI 68 AT 12:34 24JUN21




                                                                                   Page
                                                                                     2 of 2




                                                                                 Exhibit
                                                                                 Exhibit 4
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          Case No. 1:21-cr-00227-WJM Document 49-4 filed 07/26/23 USDC Colorado pg 39 of 43
                                                                    UNCLASSIFIED

  FD-1023                                  FEDERAL          BUREAU       OF INVESTIGATION
                                                         CHS    REPORTING       DOCUMENT


                                                                         HEADER

Source ID:                                    S-00100545
Date:                                         10/23/2020
Case     Agent    Name:                       DAHLSTROM,            SCOTT      M.
Field    Office/ Division:                    Denver
Squad:                                        NS     i

                                                                   SOURCE      REPORTING
Date     of Contact:                           10/21/2020

List all present       including     yourself (do          not include the           CHS):
Scott Dahlstrom
Byron Mitchell
Patricia Davies
Type     of Contact:                           In Person


      Country:                                UNITED           STATES

      City:                                   Denver

      State:                                  Colorado

Date     of Report:                           10/23/2020



Substantive        Case     File Number

266H-DN-3310305

Check     here    if additional     reporting        is in Echo
No
Source Reporting:
CHS was willing to testify once Zeb Hall was indicted. CHS has testified before on behalf of prosecution. Once was
for a case against Daniel and Manuel Melina around 2001 in Adams County Colorado. CHS was approached in jail
about killing someone and reported it to authorities. On another occasion in Coral Springs, Florida, CHS was
driving and saw someone exit a pawn shop after what appeared to be a violent confrontation. CHS tackled a
person to the ground and held them for police.



CHS told AUSA Davies CHS will always tell the truth. CHS's job was to gather information and bring it to law
enforcement. CHS has never lied to handling agents.



CHS     stated   life was   rough   back   in 2013       or 2014    as CHS     was    going through   a divorce.   CHS   was   also riding with
outlaw motorcycle gangs and wanted to change his/her life. CHS was tired of what was going on in CHS's life. CHS
saw an opportunity to go overseas to fight ISIS so CHS sold most of his/her possessions and found their way to
Iraq. CHS found a sense of purpose and honor there and made an oath to always fight against threats both foreign
and domestic. CHS felt he/she received a second chance in life overseas and that getting a second chance in the
United States was too difficult as people saw him as someone who couldn't be given that chance.




FD-1023                                                                 Page    1 of 2                  FEDERAL     BUREAU      OF INVESTIGATION

                                                                    UNCLASSIFIED



                                                                               Exhibit
                                                                               Exhibit 4
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                                                                                                                                                  INV_00000235
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 FD-1023                                     FEDERAL         BUREAU          OF INVESTIGATION                                                   FFICIAL   RECORD

                                                        CHS     REPORTING          DOCUMENT



CHS was participating in the protests in the Denver area after the death of George Floyd. CHS began noticing
people not just protesting but committing damage to property and people were threatening violence. CHS
approached Dave Gallegos with Aurora Police Department about reporting on bad actors. CHS began to make
friends among the protest regulars because of the CHS's ties to the Peshmerga and YPG overseas. CHS met Hall
through the Young Democratic Socialists of America and the protests.




Hall had discussed a relationship with Bryce Shelby with the CHS and how Shelby wanted to plan an attack on the
Colorado Attorney General. CHS also talked to Shelby who told CHS of Hall. Due to their mutual connections, CHS
set up a lunch to meet with both Hall and Shelby. This lunch was where Shelby discussed ideas to attack the
Colorado AG. Hall did not express an interest in helping Shelby but encourage Shelby to do it. Hall did talk to the
CHS about getting guns for the CHS. CHS had the understanding that this was to assist CHS with Shelby's plan.




CHS    had     conversations    with       Hall that were    not recorded.




Shelby    and    Hall were    close    but sometimes         would    split up because        of differences.




CHS    has not participated         in anything     illegal other than           when   instructed   by handling    Agents.    CHS     has   purchased
alcohol for group gatherings where minors may have shown                                up. CHS   never purchased       alcohol knowing         minors
were   going     to be present      and     partaking   in the alcohol.




CHS's motivation to work with law enforcement was to fight against terrorists as CHS believes the people who
participate in violent civil unrest are terrorists. This was the oath the CHS took overseas and the CHS still follows
it.



CHS provided their phone to handling agents to take pictures of all communications with Hall. Another document in
Halls’ case file will be created with all the communications.




Synopsis:
CHS    meeting      with AUSA

                                                                     SIGNATURE

                        Submitted     By       SMDAHLSTROM (Dahistrom, Scott)                                       Fri, 23 Oct 2020 14:12:47 -06:00
       First    Level   Approved      By       ECJERGENSON   (Jergenson, Eric)                                     Mon, 26 Oct 2020 17:14:10 -06:00




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     FD-1023                                 FEDERAL        BUREAU               OF INVESTIGATION
                                                         CHS     REPORTING              DOCUMENT


                                                                                 HEADER

Source ID:                                      S-00100545
Date:                                           08/21/2020
Case    Agent      Name:                        DAHLSTROM,            SCOTT            M.
Field    Office/ Division:                      Denver
Squad:                                          NS   i

                                                                   SOURCE              REPORTING

Date    of Contact:                              08/21/2020

List all present         including        yourself (do      not include the                 CHS):
Scott Dahlstrom
Byron Mitchell
Type    of Contact:                              In Person


      Country:                                  UNITED         STATES

      City:                                     Denver

      State:                                    Colorado

Date    of Report:                              08/21/2020


Substantive         Case    File Number

801I-DN-2752123

Check here if additional              reporting      is in Echo
No
Source Reporting:
On 08/19/2020, CHS met with Zebbadious Hall at his residence at 1041 Ogden Street, Apartment 400, Denver,
CO. Hall invited CHS over the previous day in order to talk. CHS went to this meeting on his own accord and not
by direction. CHS also audio recorded the meeting using CHS's own equipment. CHS recorded the meeting for his
own protection as CHS did not know what the conversation was going to be about.



During this meeting, Hall expressed his desire to do more than just protest. Hall talked about getting trained for
explosives and possibly using drones to deliver them. Hall talked about burning buildings down as well. Hall was
not specific in what he wanted to damage.


Synopsis:
Contact with Zebbadious             Hall

                                                                      SIGNATURE

                        Submitted    By       SMDAHLSTROM      (Dahistrom,    Scott)                     Fri, 21 Aug    2020   16:52:27   -06:00

        First   Level   Approved     By       ECJERGENSON    (Jergenson,     Eric)                      Mon,   24 Aug   2020   13:03:36   -06:00




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  FD-1023                                 FEDERAL        BUREAU               OF INVESTIGATION
                                                      CHS      REPORTING             DOCUMENT


                                                                              HEADER

Source ID:                                   S-00100545
Date:                                        09/01/2020
Case    Agent    Name:                       DAHLSTROM,            SCOTT            M.
Field   Office/ Division:                    Denver
Squad:                                       NS   i

                                                                SOURCE              REPORTING
Date    of Contact:                           08/28/2020

List all present      including        yourself (do      not    include the              CHS):
Scott Dahlstrom
Type    of Contact:                           Telephonic


Date    of Report:                           09/01/2020


Substantive      Case    File Number

266H-DN-3310305

Check     here   if additional    reporting       is in Echo
No
Source     Reporting:
eCHS attended the "Fuck the Fence" rally on the evening of 08/28/2020 located the the District 6 station of Denver
PD. Zebbadious Hall was present during the rally.                    Hall was            not participating   in trying to tear down      the fence as he
was just taking pictures and videoing the unrest.
Synopsis:
District 6 unrest with    Hall

                                                                   SIGNATURE

                   Submitted      By       SMDAHLSTROM      (Dahlstrom,    Scott)                                   Wed, 2 Sep 2020 11:31:22 -06:00

        First Level Approved      By       ECJERGENSON    (Jergenson,     Eric)                                     Wed, 2 Sep 2020 17:30:15 -06:00




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     FD-1023                                  FEDERAL         BUREAU          OF INVESTIGATION
                                                           CHS   REPORTING            DOCUMENT


                                                                              HEADER

Source ID:                                        S-00100545
Date:                                             09/02/2020
Case    Agent        Name:                        DAHLSTROM,          SCOTT       M.
Field    Office/ Division:                        Denver
Squad:                                            NS   i

                                                                   SOURCE         REPORTING
Date    of Contact:                               08/31/2020

List all present         including         yourself (do      not include the            CHS):
Scott Dahlstrom
Type    of Contact:                               Telephonic


Date    of Report:                                09/02/2020



Substantive Case File Number

266H-DN-3299289

Substantive Case File Number

266H-DN-3310305

Check here if additional              reporting        is in Echo
No
Source Reporting:
Once Aiden Beatty and his group found out about Trey Quinn's fire bomb plan, they "freaked out" on Signal. CHS
invited the group to eat at Chili's restaurant. Beatty, Honor Monoghan, Mackenzie Hicks, Seon Lee, Zebbadious
Hall, and Alex LNU all came to the dinner. CHS told them to stay away from Quinn. The group was worried about
killing people and told Hall to stop talking about killing people at their apartment. The group believes that Beatty's
apartment has been compromised and that the Feds were watching.



CHS went by the apartment on sunday night and a lot of the apartment was cleaned out. Most of the equipment
was gone and Beatty and others said they were storing it somewhere else. The YPG and Communist decorations
were gone as well. CHS was told about an article about how the DHS was looking at former PKK fighters and it
seemed the group weas worried about CHS's history with PKK. The group was also worried about the incident in
Fort Collins and        wondered      if they would        get arrested     for it.



Synopsis:
Reporting       on   Beatty   group

                                                                      SIGNATURE

                        Submitted     By       SMDAHLSTROM (Dahlistrom, Scott)                       Wed, 2 Sep 2020 11:29:46 -06:00

        First   Level   Approved      By       ECJERGENSON    (Jergenson, Eric)                      Wed, 2 Sep 2020 17:31:12 -06:00




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